     Case 4:22-cv-00073-O Document 17 Filed 10/24/22          Page 1 of 82 PageID 219



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ROI DEVELOPERS, INC.,                        §
d/b/a ACCRUVIA,                              §
                                             §
        Plaintiff,                           §
                                             §
v.                                           §          Civil Action No. 4:22-cv-00073-O
                                             §
ATHENA BITCOIN, INC.,                        §
                                             §
        Defendant.                           §


               PLAINTIFF’S APPENDIX IN SUPPORT OF ITS RESPONSE
               TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

                                  Attachment                           Exhibit
           Affidavit of Shaun Overton                                    1
           Affidavit of Kelly Stewart                                    2
           Declaration of Panagiotis Angelopolous                        3
           Supplemental Declaration Panagiotis Angelopolous              4




                                             1
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Dated this 24th day of October, 2022.


                                      Respectfully submitted,


                                      /s/ Kelly Stewart
                                      Kelly Stewart
                                      Texas Bar No. 19221600
                                      K STEWART LAW, P.C.
                                      5949 Sherry Lane, Suite 900
                                      Dallas, Texas 75225
                                      Telephone: 972.308.6168
                                      kelly@kstewartlaw.com

                                      ATTORNEY FOR PLAINTIFF




                                    CERTIFICATE OF SERVICE

        I certify on the 24th day of October, 2022, I filed this document electronically with the
Court using the CM/ECF system, which will sent a notice of electronic filing to counsel of
record.

                                              /s/ Kelly Stewart




                                                 2
                                                                              ---- ---- -
Case 4:22-cv-00073-O Document 17 Filed 10/24/22                      Page 3 of 82 PageID 221




                               UNITED STATE S DISTRI CT COURT
                                NORTH ERN DISTRI CT OF TEXAS
                                   FORT WORTH DIVISIO N

 ROI DEVEL OPERS , L~C.,                            §
 d/b/a ACCRU VIA,                                   §
                                                    §
            Plaintiff,                              §
                                                   §
 v.                                                §            Ci\'il Action No. 4:22-c,·-00073-0
                                                   §
 ATHEl\iA BITCOI N, INC.,                          §
                                                   §
        Defenda nt.                                §

                               AFFIDA VIT OF SHAUN OVERT ON

 STATE OF TEXAS                  §

 COUNTY OF DALLAS                §

      BEFORE ME, the undersigned authority, on this day personally appeared Shaun Overton.
known to me to be the person whose signature appears below, and upon his oath duly deposed and
said:

        1.        I am the President and owner of ROI Developers, Inc. d/b/a Accruvia ("Accruvia").

As such, I have knowledge of the facts in this Affidavit.

       2.         Accruvia is a Texas corporation, with its principal office in Hurst, Texas. I

personally reside in Hurst, Texas.

       3.         Accruvia's primary business is that of an API (applications programming interface)

integrator, which means it develops software that allows two other unrelated software platform
                                                                                              s
to work and communicate with each other.

       4.         Accruvia had been hired by a consultant for the government of EI Salvador to fix

certain software problems with a government-sponsored bitcoin project called Chivo Wallet in
                                                                                             the
late-summer/early-fall of 2021. One of Accruvia 's tasks was to help fix the problems and bugs

caused by software forChivo Wallet that had been developed by an ..Athena Bitcoin'' entity.

       5.         During that process I became aware of "Athena Bitcoin'' and its CEO, Eric




                                             Exhibit 1
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  Gravengaard ("Gravengaard") in September 2021.

          6.     In September of 2021, I on behalf of Accruvia signed a "Tenn Sheet" under which

  I was going to work for Athena Bitcoin Global, Inc. (the signatory), as an employee and do other

  work subject to certain due diligence and a closure of the deal by the targeted date of October 22,

  2021.

          7.     The parties did not close any deal or sign any "definitive transaction documents"

  as anticipated, but not required, by the Tenn Sheet.

          8.     I signed the Tenn Sheet, even though by doing so I was giving up a S4.5 million

  opportunity with the government of El Salvador. based on Gravengaard 's representations as to the

  business and plans of "Athena."

          9.     I had disclosed to Defendant Athena Bitcoin, Inc. ("Athena") that Accruv1a was

  based in Texas, and that I lived in Texas.

          10.    Subsequent to the Tenn Sheet, Accruvia perfonned custom software development

  for Athena on Chivo Wallet, along with providing supplemental marketing services.

          11.    The work done by Accruvia was done, in part, by me in Texas and by Bailey Jarrell,

  who was employed by Accruvia and who lived in Texas. Other parts of the work were pcrfonncd

  by Accruvia contractors who were not in Texas. Ms. Jarrell now works for Athena and still lives

  and works in Texas to my knowledge.

          12.    I believed, at the time Accruvia started the work that fonns the basis ofthis lawsuit,

  that I was working for Athena. This \vork Accruvia perfonned was directed by Athena. and was

  provided to Athena.

          13.    Chivo Wallet was a project of the government of El Salvador to address the

  "remittance" market with AThfs, or to assist in limiting or lowering commissions charged for the

  transfer of moneys, often from individuals in the United States to individuals in El Salvador. My



                                                   2


                                          Exhibit 1
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 understanding based on my work for the government of El Salvador and for Athena on Chivo

 Wallet, was that Chivo Wallet, when used in a bitcoin A TM in the United States using its

 technology, would allow a person in the United States to deposit cash in a bitcoin ATM. which

 would then convert the cash to bitcoin, and then that bitcoin could be obtained by someone in El

 Salvador (or anywhere) who has the Chivo Wallet app. The recipient can then sell the bitcoin at a

 cryptocurrcncy A TM to withdraw U.S. dollars. Chivo Wallet was a way to dramatically lower the

 commission charged in a pure cash-to-cash transfer.

         14.     A diagram provided to Accruvia by the government of El Salvador as part of the

 work Accruvia was doing on Chive Wallet for Athena also shows that Chivo Core is part of ChiYo

 Wallet. A true and correct copy of that diagram is attached as Exhibit I-A.

         15.     The coding done by Accruvia for Chivo Wallet, Athena, which I understand is

 also called Chivo Core and is part of Athena Ruru, is part of the work/invoices sued under here.

         16.     Accruvia invoiced Athena, per directions from Athena, for the work in question

 here. I worked with Noreen Pepino, an Athena employee, in sending invoices to Athena.

         17.     Athena, as indicated by payment entries, paid Accruvia for the first invoice on that

 work, as invoiced. Attached as Exhibit 1-B, 1-C and 1-D are true and correct copies of nn invoice

 and payment records forthe first invoice submitted by Accruvia (noting that it was paid by "Athena

 Bitcoin Inc."

         18.     Attached as Exhibits 1-E arc true and correct copies of two additional invoices

 submitted by Accruvia to Athena for payment of the work in question, which total $83,678.91.

 Attached as Exhibit 1-F are true and correct copies of invoicing records for the two last invoices

 submitted to Athena that show that they were going to be paid by ''Athena Bitcoin Inc."

         19.     Accruvia expected payment for the work it perfonned for Athena that forms the

 basis of this lawsuit.



                                                  3

                                           Exhibit 1
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         20.    No entity, Athena or otherwise, has paid Accruvia for invoices for the subsequent

 work

         21.     $83,678.91 remains due and owing to Accruvia for the work perfonned that forms

 the basis of this lawsuit.




        This instrument was personally acl(Jl(:i.w-teaged, subscribed and sworn to before me on thej!/.
 day of October, 2022, by Shaun Overton.




                                                   4


                                          Exhibit 1
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Chivo Core
   jAPP M6vil - Chivo Wallet 1    Web App - Merchan Panel                    Chivo POS




  l
    Personal

    Merchant
    Employees
          - ~-
                    J            Merchant

                                 Employees
                                                                       Re ail employees




  ATM - El Salvador                                                     Backoffice - Call Center
                                                                                                            Admin
General public                                        1--- - - - - - + 1 Finance Team

(onto ramp)                                                             Call Center




      ATM-USA                                                             Dashboard CFO

General public                                                         Finance Team

(on/o ramp)

                                            Websi e

                                   General public



                                 Figure 1: Chivo Core Diagram


Mobile APP - Chivo Wallet
React


Feature                                                                                            Status

User registry - person with DUI
                                                                                                     0
User registry - person with Passport                                                                 ®
User registry - merchant with DUI and NIT
                                                                                                     0
User registry - merchant with Passport and NIT                                                       ®
Login and permissions according to role
                                                                                                     0



                                              Exhibit 1-A                                           Accruvia00034
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Account recovery                                                         &
                                                                     Forget PIN
                                                                     and Phone

Biometrics integration                                                   ®
Functionality to airdrop $30 in BTC to all successfully registered
Salvadorians
                                                                         0
BTC/USD exchange with no fees
                                                                         0
Send BTC/USD to Chivo users with no fees
                                                                         0
Receive BTC/USD from Chivo users with no fees
                                                                         0
Receive BTC on chain
                                                                         0
Receive BTC using Lightning Network
                                                                         0
Send BTC on chain
                                                                         0
Send BTC using Lightning Network
                                                                         0
User profile management
                                                                         0
Bank account management                                                  &
                                                                      We need
                                                                      Account
                                                                     validation

Bank account withdrawals to national banks - El Salvador
                                                                         0
Payment button from national banks - EL Salvador                         ®
Automatic BTC/USD conversion function
                                                                         0
Integration with KYC provider (Netki)                                    ®
Transaction limits                                                       ®
Integration with KYT provider (Elliptic)                                 ®
Integration with SMS provider - El Salvador (Mobile SV)
                                                                         0



                                   Exhibit 1-A                          Accruvia00035
 Case 4:22-cv-00073-O Document 17 Filed 10/24/22         Page 9 of 82 PageID 227



Integration with SMS provider - International (Twilio)
                                                                          0
Integration with hot custody wallet - Bitgo
                                                                          0
ATM integration                                                           &
                                                                       Presenta
                                                                         fallas

Payment button - Credit card                                              ®
Integration with provider to receive payments from the website            &
                                                                       Presenta
                                                                         fallas

Payment button - Taxes                                                    ®
Integración with NRPN API (National Register for Natural People)
                                                                          0
Payment button - Services (NPE)                                           ®



Web App - Merchant Panel
React


Feature                                                                 Status

Login and permissions according to role
                                                                          0
Integration with SMS provider - El Salvador (Mobile SV)
                                                                          0
Integration with SMS provider - International (Twilio)
                                                                          0
Check general balance USD/BTC
                                                                          0
Payment processing USD/BTC
                                                                          0
Transactions management
                                                                          0
Receive BTC/USD from Chivo users with no fees
                                                                          0
Send BTC/USD from Chivo users with no fees
                                                                          0


                                  Exhibit 1-A                            Accruvia00036
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Receive BTC on chain                                                (0

Receive BTC using lightning network                                 (0

Send BTC on chain                                                   (0

Send BTC using lightning network                                    (0

Integration with KYT provider (Elliptic)                            ®
Management module for retail employees                              (0

Chivo Pos management                                                (0

Configure automatic conversion                                      (0

Bank account management                                             (0

Bank account withdrawals                                            (0

BTC/USD exchange with no fee                                        (0

Payment button - Taxes                                              ®
Payment button - Services (NPE)                                     ®
Transactions reports                                                ®



BackOffice - Call Center

Feature                                                           Status

Create new chivo users                                              ®
Modify PIN                                                          &
                                                                Users have
                                                                PIN issues

Modify phone                                                        (0




                                   Exhibit 1-A                     Accruvia00037
Case 4:22-cv-00073-O Document 17 Filed 10/24/22       Page 11 of 82 PageID 229



Activate/Deactivate chivo users                                         &
                                                                     Activate
                                                                    chivo users
                                                                       is not
                                                                   implemented

Integración with NRPN API (National Register for Natural People)
                                                                        0
Integration with Vaccination API
                                                                        0
Check transactions
                                                                        0
Balance management for chivo users                                      ®
Financial reports                                                       ®
Transaction limit management                                            ®
Fraud alerts                                                            ®
Access to KYC provider (Netki)                                          ®
Access to KYT provider (Elliptic)                                       ®
Bulk operations for failed bank transactions                            ®



Dashboard CFO

Feature                                                               Status

Check general balances                                                  ®
BTC Buy/Sell                                                            ®
Trust fund information                                                  ®
Overall position charts by periods                                      ®
Integration with Exchanges (Bitso, Binance and Coinbase)                ®
Integration with Hot and Cold Wallet ( Bitgo and Bitso)                 ®



                                    Exhibit 1-A                        Accruvia00038
 Case 4:22-cv-00073-O Document 17 Filed 10/24/22   Page 12 of 82 PageID 230




ATM - El Salvador
Athena


Feature                                                           Status

Buy BTC                                                             (0

Withdrawals from Chivo Wallet                                       (0

Coupon exchanges                                                    (0

Check balance                                                       (0

Add money to Chivo Wallet                                           (0




ATM - USA
Athena


Feature                                                           Status

Buy BTC                                                             (0

Withdrawals from Chivo Wallet                                       (0

Check balance                                                       (0

Add money to Chivo Wallet                                           (0



Chivo POS
Athena




                                Exhibit 1-A                        Accruvia00039
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Feature                                                                 Status

Payment processing                                                        (0

Receipts                                                                  (0




Website
HTML5 + CSS3


Feature                                                                 Status

General Information                                                       (0

Add money to Chivo wallet using credit cards                              (0

Unsubscribe from Chivo Wallet                                             ®


Required Team

Application               Quantity             Requirements

Mobile APP                4                    React-Native/Expo Front-end

Merchant Panel            2                    React Front-end

Backoffice / Dashboard    6                    React Front-end
CFO

Website                   2                    HTML5 + CSS3
                                               Diseñador

Chivo Core                6                    Django
                                               Celery - Redis
                                               Postgres - NoSQL

QA Team                   2                    Functional testing
                                               Automated Testing
                                               End to end testing (Cypress)

Devops                    2                    Infrastructure (K8s, Docker, AWS,




                                Exhibit 1-A                              Accruvia00040
Case 4:22-cv-00073-O Document 17 Filed 10/24/22   Page 14 of 82 PageID 232



                                          CICD)

TOTAL                   24




                              Exhibit 1-A                         Accruvia00041
   Case 4:22-cv-00073-O Document 17 Filed 10/24/22         Page 15 of 82 PageID 233



                                      Accruvia
(~QI)Developers                       615 W Harwood Rd Ste 82
                                      Hurst, TX 76054 US
                                      soverton@roidevs.com

INVOICE
BILL TO                                                         INVOICE# 1B1049
1332 North Halsted Street,                                          DATE 10/04/2021
Chicago, IL, 60642                                              DUE DATE 10/11/2021
                                                                  TERMS Net30




ACTIVITY                                                                               AMOUNT

Programming Hours:Programmlng Hour                                                      666.66
Franklin Grassals
Programming Hours:Programmlng Hour                                                     1,999.98
Williams Mendez
Programming Hours:Programmlng Hour                                                     1,999.98
Panos Angelopoulos
Programming Hours:Programmlng Hour                                                      630.00
Burak Hamzaouglu
Programming Hours:Programmlng Hour                                                     1,200.00
Mariano Andres
Programming Hours:Programmlng Hour                                                     1,200.00
Marlo Grullon
Programming Hours:Programmlng Hour                                                      484.00
Gustavo Rodriguez
Programming Hours:Programmlng Hour                                                     3,333.36
Shaun Overton
Programming Hours:Programmlng Hour                                                      172.71
Overhead expenses - 1.5%


                                            PAYMENT                                   11,686.69
                                            BALANCE DUE
                                                                                      $0.00




                                                                               Accruvia00013
                                     Exhibit 1-B
              Case 4:22-cv-00073-O Document 17 Filed 10/24/22                                Page 16 of 82 PageID 234
:tOI Developers , Inc Mail • Athena Bitcoin Inc has paid you          https://mail.google .com/mail/u/0/?ik=a9 l c423e63&view...




                  Gmail                                                              Shaun Overton <soverton@ accruvia.com :-




         Athena Bitcoin Inc has paid you
         3 messages

         Bill.com Operations <NoReply-Payments@hq bin.com>                                         Wed, Oct 13, 2021 at 5:44 AM
         To: ·soverton@roidevs.com.. <sovenon@roldevs.com>




             Hi Accruvia,

             You've received money in your bank account from Athena Bitcoin Inc for these invoices:


               Invoice#        Due Date        Amount                 Payment Amount                 Process Date

               1B1049          10/11121        $11,686.69             $1,686.69                      10/12/21

               Total:                                                 $1,686.69




             You should see a deposit for the Total.




             Have questions about the payment? Contact Athena Bitcoin Inc at 8722250048.




             Thank you,
             Athena Bitcoin Inc




                                                             tt, 2021 Bin com, LLC
                                                snvwor1<e1S 101.37 03eela9B OTI00070•0 POl

                                                       PDWERrn ur   bi II.com

                                                                                                                Accruvia00001

t nf 4                                                   Exhibit 1-C
           Case 4:22-cv-00073-O Document 17 Filed 10/24/22                               Page 17 of 82 PageID 235
 ROI Developers. Inc Mail - Athena Bitcoin Inc has paid you          https://mail.google.com/mail/u/0/?ik=a91c423e63&vlew...


        Bill.com Operations <:N0Reply-Paymen1s@hq.bill.com>                                      Wed, Ocl 13, 2021 at 5:44 AM
        To: "sovenon@roidevs.com" <soverton@roidevs.com>




            Hi Accruvia,


            You've received money in your bank account from Athena Bitcoin Inc for these invoices:


              Invoice#       Due Dale           Amount              Payment Amount                 Process Date
              181049         10/11/21         $11,686 69           $10,000.00                      10/12/21

              Total:                                               SlD,000.00




            You should see a deposit for the Total.




            Have questions about the payment? Contact Athena Bitcoin Inc at 8722250048.




            Thank you,
            Athena Bitcoin Inc




                                                         ~ 2021 Bill.com LLC
                                             sovwo1ker6 101 37 0Jeela98 OTID0070-0 POl

                                                    Fowrnrn aY oill.crnn


        Shaun Overton <soverton@accruvia.com>                                                  Wed, Oct 13, 2021 at 11:52 AM
        To: shaun@a1henabi1coin.com




          2 attachments



                                                                                                              Accruvia00002
2 of3                                                 Exhibit 1-C
            Case 4:22-cv-00073-O Document 17 Filed 10/24/22                 Page 18 of 82 PageID 236
ROI Developers, Inc Mail • Athena Bitcoin Inc has paid you    https://mail .google.com/mail/u/0nik=a9 l c423e63&view...



             ~      1733832465573382571_1719079003140875254_1nvoicelogo_ 400x5.png
           ATHENA   lK


             ~      1733832465573382571_1719D79003140875254 InvoiceLogo_ 400x5.png
           ATHENA   lK




                                                                                                Accruvia00003
3 of 3                                              Exhibit 1-C
 Case 4:22-cv-00073-O Document 17 Filed 10/24/22        Page 19 of 82 PageID 237
10/13/21               melio Thomas RW t35164628
                       Electronic Debit




l 0/13/21              Bill.com Verify 025GYKASBX3CQGN
                       Electronic Deposit




l 0/12/21              Athena Bitcoin I Bill.com
                       Ol 6ITZNCU1YZFIX
                       Electronic DeRosit




l 0/12/21              Athena Bitcoin I Bill.com
                       Ol 6IZMOFLlYZFIU
                       Electronic Deposit




l 0/12/21              TSYS/TRANSFIRST RESIDUAL ON ESTEP
                       Electronic Deposit




10/12/21               PAYPAL TRANSFER 1016166541144
                       Electronic Deposit


                                                                                  Accruvia00009

"1 -   ,_   r- , _ ,   -      r
                                  Exhibit
                                  IA  ff
                                          1-D
                                           I    .....   ~ 11 I+   -   -   -   -     -   ,-. -   -   -
       Case 4:22-cv-00073-O Document 17 Filed 10/24/22   Page 20 of 82 PageID 238




10/13/21   Bill.com Verify 025GYKASBX3COGN       Enter memo                    +$0.01
           Electronic Deposit




10/12/21   Athena Bitcoin I Bill.com             Enter memo             +$10,000.00
           0161TZNCU1YZFIX
           Electronic Deposit




10/12/21   Athena Bitcoin I Bill.com             Enter memo              +$1,686.69
           0161ZMOFLlYZFIU
           Electronic Deposit




                                                                        Accruvia00010

                                       Exhibit 1-D
     Case 4:22-cv-00073-O Document 17 Filed 10/24/22                     Page 21 of 82 PageID 239



                                 Accruvla
                                 615 W Harwood Rd Sle 82
                                 Hurst. TX 76054 US
                                 soverton@roidevs.com




BILL TO                                                                    INVOICE#   1B1050
Athena Bitcoin                                                                 DATE   11/03/2021
1332 North Halsted Slreet                                                  DUE DATE   11/03/2021
Chicago, IL 60642                                                            TERMS    Due on receipt




ACTIVITY                                                                                            AMOUNT

Programming Hours:Programmlng Hour                                                                 6,513.00
Lance Moore
Programming Hours:Programmlng Hour                                                                  5,010.00
Mariano Andres
Programming Hours:Programmlng Hour                                                                  1,904.09
Yordano Morel
Programming Hours:Programmlng Hour                                                                 10,016.00
WIiiiams Mendez
Programming Hours:Programmlng Hour                                                                 10,016.00
Franklin Grassals
Programming Hours:Programmlng Hour                                                                 10,000.00
Panos Angeloupolos
Programming Hours:Programmlng Hour                                                                  5,011.63
Mario Grullon
Programming Hours:Programmlng Hour                                                                  1,517.04
Leonidas Panagiotou
Programming Hours:Programmlng Hour                                                                 16,666.67
Shaun Overton
Programming Hours:Programmlng Hour                                                                  5,871.05
Bailey Jarrell
Programming Hours:Programmlng Hour                                                                  1.258.06
Burak Hamzao lu
Programming Hours:Programmlng Hour                                                                  1,132.03
Overhead expenses - 1.5%
Programming Hours:Programmlng Hour                                                                     335.00
Gustavo Rodriguez


Invoice for labor October 1·31                             BALANCE DUE
                                                                                         $75,250.57

                                                                                            Accruvia00012

                                                Exhibit 1-E
    Case 4:22-cv-00073-O Document 17 Filed 10/24/22                          Page 22 of 82 PageID 240


                                     Accruvla
                                     615 W Harwood Rd Ste B2
                                     Hurst, TX 76054 US
                                     soverton@roidevs.com




Bill. TO                                                                       INVOICE#   1B1052
Athena Bilcoin                                                                     DATE   11/04/2021
1332 North Halsted Str~et                                                      DUE DATE   11/04/2021
Chicago, IL 60642                                                                 TERMS   Due on receipt




ACTIVITY                                                                                              AMOUNT

Programming Hours:Programmlng Hour                                                                    1,000.00
Lance Moore
Programming Hours:Programmlng Hour                                                                      500.00
Mariano Andres
Programming Hours:Programmlng Hour                                                                      700.00
Yordano Morel
Programming Hours:Programmlng Hour                                                                    1,000.00
WIiiiams Mendez
Programming Hours:Programmlng Hour                                                                    1,000.00
Franklin Grassals
Programming Hours:Programmlng Hour                                                                    1,000.00
Panos Angeloupolos
Programming Hours:Programmlng Hour                                                                         500.00
Mario Grullon
Programming Hours:Programmlng Hour                                                                         350.00
Leonidas Panaglotou
Programming Hours:Programmlng Hour                                                                     1,666.67
Shaun Overton
Programming Hours:Progranvnlng Hour                                                                        587.11
Bailey Jarrell
Programming Hours:Programmlng Hour                                                                         124.56
Overhead expenses • 1.5%


lnvolce for labor November 1·3, 2021. F"mal payment            BALANCE DUE                     $8,428.34




                                                                                                AccruviaOO0 11

                                                      Exhibit 1-E
        Case 4:22-cv-00073-O Document 17 Filed 10/24/22                      Page 23 of 82 PageID 241




From: BIii.com <account-servlces@hg.bill.com>
Date: Wed, Nov 3, 2021, S:49 PM
Subject: Your invoice #1810SO was received!
To: <soverton@roidevs.com>




                                                  bill
                         Track your payment from Athena Bitcoin Inc




                                                $75250.58
                                                   Total amount

           Good news! Athena Bitcoin Inc is getting ready to pay you for invoice #181050. We'll let you
                                    know when the payment is on its way.



                   Sign in to track status. see payment details. or send a note to your customer.




                                                  Track Status




                                                                                                    Accruvia00006

                                                  Exhibit 1-F
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                      6220 America Center Drive, San Jose, CA 95002

                  Help Center! Privacy! Security Center I Email Preferences




                                               2                                  Accruvia00007
                                     Exhibit 1-F
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From: Bill.com <account-services@hg.bill.com>
Date: Fri, Nov 5, 2021, 3:22 PM
Subject: Your Invoice #IB1052 was received!
To: <soverton@roidevs.com>




                                                        bill
                         Track your payment from Athena Bitcoin Inc




                                                        $8428.34
                                                        Total amount

            Good news! Athena Bitcoin Inc is getting ready to pay you for invoice #181052. We'll let you
                                        know when the payment is on its way.



                    Sign in to track status,   see payment details, or send a note to your customer.


                                                    i
                                                        Track Status




                                                               l                                       Accruvia00004
                                                        Exhibit 1-F
Case 4:22-cv-00073-O Document 17 Filed 10/24/22                    Page 26 of 82 PageID 244




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                      6220 America Center Drive, San Jose, CA 95002


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                                              2                                   Accruvia00005
                                    Exhibit 1-F
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

ROI DEVELOPERS, INC.,                            §
d/b/a ACCRUVIA,                                  §
                                                 §
         Plaintiff,                              §
                                                 §
v.                                               §          Civil Action No. 4:22-cv-00073-O
                                                 §
ATHENA BITCOIN, INC.,                            §
                                                 §
         Defendant.                              §

                             AFFIDAVIT OF KELLY STEWART

STATE OF TEXAS                 §

COUNTY OF DALLAS               §

        BEFORE ME, the undersigned authority, on this day personally appeared Kelly Stewart,
known to me to be the person whose signature appears below, and upon his oath duly deposed
and said:

         I. My name is Kelly Stewart. I am counsel of record for Plaintiff ROI Developers, Inc.,
            d/b/a/ Accruvia ("Accruvia") in the above-captioned case. As such, I have personal
            knowledge of the facts in this Affidavit.

         2. Attached as exhibits are true and correct copies of the following documents
            (deposition exhibit stickers were left on where applicable):

                            Attachment                       Athena Corp.       Exhibit
                                                              Rep. Depo.
                                                                Ex. No.
         Excerpts of Defendant's Supplemental                     17              2-A
         Responses to Plaintiffs First Set of Personal
         Jurisdiction Discovery
         Defendant's Responses to Plaintiffs First Set of          18             2-B
         Merits Discovery
         Texas Franchise Tax Public Information Reports            4              2-C
         Athena Website Printouts                                  7              2-0
         Athena Bill.com payment statement                         10             2-E
         Athena bank record                                        14             2-F
         Excerpts of Athena Bitcoin Global February 10,            2              2-G
         2022, Form S- 1




                                           Exhibit 2
  Case 4:22-cv-00073-O Document 17 Filed 10/24/22             Page 28 of 82 PageID 246



      Further Affiant says not.




              This instrument was personally acknowledged, subscribed, and sworn to before
me on the~      of October, 2022, by Kelly Stewart.




             FAWN GOMEZ
         My Nolaly ID# 10724781
        Expires Dec:ember27, 2024
                                          My Commission Expires:




                                             2
                                        Exhibit 2
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                                                  UNITED STATES DISTRICT COURT
                                                   NORTHERN DISTRICT OF TEXAS
                                                      FORT WORTH DIVISION

                     ROI DEVELOPERS, INC. d/b/a
                     ACCRUVIA
                                                                          Civil Action No. 4:22-cv-00073-O
                         Plaintiff

                             v.

                     ATHENA BITCOIN, INC.

                         Defendant




                       DEFENDANT’S SUPPLEMENTAL RESPONSES TO PLAINTIFF’S FIRST SET OF
                                    PERSONAL JURISDICTIONAL DISCOVERY


                    TO:              Plaintiff ROI Developers, Inc. d/b/a Accruvia
                                     c/o Kelly Stewart
                                     K STEWART LAW, P.C.
                                     5949 Sherry Lane, Suite 900
                                     Dallas, TX 75225

                    FROM:            Defendant Athena Bitcoin, Inc. (hereafter “Athena”)
                                     c/o Larry L. Fowler, Jr. / Daniel J. Graves
                                     Harris Cook, LLP
                                     1309-A West Abram
                                     Arlington, TX 76013

                             This shall serve as Defendant’s Supplemental Responses to Plaintiff’s First Set of Personal

                    Jurisdictional Discovery. The individual interrogatories and requests for documents have been

                    included for reference in its response in bold follows thereto.




                                                                                                              Exhibit
                                                        Exhibit 2-A                                              17
                                                                                                             17th Aug 2022
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                                                          GENERAL OBJECTIONS

                            A.       Defendant hereby objects to any petition requiring a search for documents or

                    information in the possession, custody, or control of unnamed entities, third parties and/or plaintiff

                    itself as being unduly burdensome, vexatious, and harassing.

                            B.       Defendant objects to each of the discovery requests to the extent they seek

                    information or documents protected from disclosure under the work-product doctrine, the attorney-

                    client privilege, or any other privilege.

                            C.       Defendant objects to each of the requests to the extent they seek information or

                    documents which pertain to or originated in the period prior to the date on which the instant case and

                    controversy arose.

                            D.       All the objections and responses presented in this document, including Defendant's

                    general and specific objections are made without prejudice, to Defendant's right to present additional

                    objections as may be deemed appropriate upon further discovery or review of evidence.

                            E.       All documents marked as "OMITTED" have been expunged as privileged documents

                    by counsel of record, pursuant to the attorney-client and/or the attorney work-product privileges, and

                    they cannot be produced, and shall be properly identified and included in a privilege log for such

                    purposes under Fed. R. Civ. P. 26. Also, certain documents may have been redacted to protect

                    privileged.

                                                                 DEFINITIONS

                            The following definitions are incorporated by reference in all of Defendant’s specific

                    responses and objections to all other discovery requests made to it in this case.

                            a)       "Irrelevant" means not relevant to the issues involved in the pending action and not

                    reasonably calculated to lead to the discovery of evidence admissible as to those issues.


                    Defendant’s Supplemental Responses to Plaintiff’s First Set of Personal Jurisdictional Discovery   Page 1




                                                         Exhibit 2-A
DocuSign Envelope ID: DF7EECB6-68AA-465A-80B1-DD1CB88A09DC

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                            b)       "Impermissibly Overbroad" means irrelevant, burdensome, and unnecessary to the

                    extent the set of interrogatories seek: (1) information about individuals or entities not parties to this

                    action; and/or (2) information pertaining to persons, activities and/or events that are outside the

                    scope of the present litigation.

                            c)       "Vague" means ambiguous or not specified with reasonable particularity.

                            d)       "Unduly burdensome and oppressive" means that: (1) it is impossible to produce such

                    document or information in a complete and sufficient manner without making a complex or onerous

                    investigation; (2) the collection or reproduction of such document or information is financially

                    burdensome or unfeasible; or (3) the document or information sought has been previously produced

                    to a party within this action and served upon every attorney involved in the litigation.

                            e)       "Unintelligible" means that the question as drafted cannot be comprehended thus

                    hindering Defendant from providing an intelligent and responsive answer.

                            f)       "Defendant" shall exclusively mean Athena Bitcoin, Inc. (“Athena”).

                                          RESPONSES TO REQUESTS FOR PRODUCTION

                            1.       All agreements with Accruvia.

                            There are no documents in the possession, custody or control of Athena that are
                            responsive to this Request.

                            1.(repeated) All invoices sent to Athena by Accruvia.

                            There are no documents in the possession, custody or control of Athena that are
                            responsive to this Request.

                            2.       All documents concerning payments by Athena to Accruvia.

                            Defendant objects this request for its vagueness, as being unduly burdensome in that
                            it is overly broad, vexatious, and harassing. Furthermore, any payments made by
                            Athena to Accruvia would be in Accruvia’s possession and are equally available. In any
                            case, responsive documents are being produced.

                        3. All communications with Accruvia concerning work Accruvia did for Athena.


                    Defendant’s Supplemental Responses to Plaintiff’s First Set of Personal Jurisdictional Discovery   Page 1




                                                         Exhibit 2-A
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                            Defendant objects this request for its vagueness and being unduly burdensome in that
                            it is overly broad and lacking in specificity as to the information sought from this
                            request.

                        4. All documents concerning payment for work done by Accruvia.

                            Defendant objects this request for being repetitive and how is drafted as Accruvia did
                            not do any work for Athena. See previous responses to requests 1 (repeated) and 2.

                        5. All DBAs (doing business as) filed by Athena.

                            Athena objects this request for being vague, impermissibly overbroad, and outside the
                            bounds of permissible discovery. Athena further objects to the use of the phrase “filed”
                            as it is overly vague, and Athena cannot be certain as to the intended meaning to the
                            extent that Athena cannot adequately respond to this Request. In any case, responsive
                            documents are being produced.

                        6. All documents showing any travel to Texas by any person employed by or otherwise hired or
                           retained by Athena, including but not limited to employees, independent contractors, officers,
                           and directors.

                            Athena objects to this request as it is overly vague and unduly burdensome in that it is
                            overly broad and lacking in specificity as to scope. Athena further objects to this
                            Request as it is not reasonably calculated to lead to the discover of admissible
                            evidence.

                        7. All franchise tax or other tax reports filed with Texas taxing or other Texas governmental
                           authorities.

                            Athena objects this request as it is overly broad and not sufficiently limited in time or
                            scope. In any case, responsive documents are being produced for 2017, 2018, 2019 &
                            2020.

                        8. All documents concerning litigation Athena is involved with in Texas.

                            There are not documents in the possession, custody or control of Athena that are
                            responsive to this Request.

                        9. All documents concerning Athena’s corporate relationship with Athena Bitcoin Global.

                            Athena objects this request as it is vague, and unduly burdensome in that it is overly
                            broad and lacking in specificity as to time and scope. Athena further objects to the use
                            of the phrase “corporate relationship” as it is overly vague and Athena cannot, in good
                            faith, ascertain the intended meaning in a manner that would allow Athena to respond
                            to this Request. In any case, responsive documents are being produced.



                    Defendant’s Supplemental Responses to Plaintiff’s First Set of Personal Jurisdictional Discovery   Page 1




                                                         Exhibit 2-A
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                        10. All documents concerning any property, including but not limited to ATMs, owned or leased
                            by Athena in Texas.

                            Athena objects to this request as it is vague and unduly burdensome in that it is overly
                            broad and not sufficiently limited in scope in such a way that Athena can determine
                            the information sought from this Request. Athena further objects to this Request as it
                            is not reasonably calculated to lead to the discovery of admissible evidence.
                            Notwithstanding the aforementioned, Athena does own and operates several
                            cryptocurrency ATMs in Texas and it has no other property in the state.

                        11. Documents sufficient to identify any employee or independent contractor of Athena in Texas.

                            Athena objects to this request as it is vague, impermissibly overbroad, and lacking in
                            specificity. In any case, Athena directs Plaintiff to its Response to Interrogatory No. 5,
                            which is sufficient to identify Athena’s sole employee located in Texas.

                        12. Documents sufficient to identify any offices of Athena in Texas.

                            Athena objects to this request as it is vague, impermissibly overbroad, and lacking in
                            specificity. In any case, there are no documents in the possession, custody or control
                            of Athena that are responsive to this Request.

                        13. Documents sufficient to identify all bank accounts of Athena in Texas.

                            There are no documents in the possession, custody or control of Athena that are
                            responsive to this Request.

                        14. All agreements with any person or entity in which Athena has consented to personal
                            jurisdiction in Texas.

                            Athena objects to this request as it is unduly burdensome in that it is overly broad and
                            vague in such a way that Athena cannot in good faith ascertain the information sought
                            from this Request. Athena further objects to this Request because it is requests
                            information that is not reasonably calculated to lead to the discovery of admissible
                            evidence. In any case, there are no documents in the possession, custody or control of
                            Athena that are responsive to this Request.

                        15. Documents showing all advertising done in Texas by Athena.

                            Athena objects to this request because it is unduly burdensome in that it is overly
                            broad and not sufficiently limited in time or scope. Athena further objects to the phrase
                            “advertising” as it is vague and Athena cannot in good faith ascertain the information
                            sought by this Request.

                        16. Documents sufficient to show Athena’s place of incorporation and principal office.



                    Defendant’s Supplemental Responses to Plaintiff’s First Set of Personal Jurisdictional Discovery   Page 1




                                                         Exhibit 2-A
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                            Documents responsive to this Request are being produced.

                                                  RESPONSES TO INTERROGATORIES

                    Interrogatory No. 1: If any answer to the Requests for Admissions is anything other than an admission,
                    state all facts that support your denial or partial denial.

                    RESPONSE: Not applicable

                    Interrogatory No. 2: Identify Athena’s parent corporations and subsidiary corporations, including how
                    they are related to Athena.

                    RESPONSE: Athena is a separate corporation, incorporated in Delaware, and it is a
                    subsidiary of Athena Bitcoin Global.

                    Interrogatory No. 3: Identify the state(s) of the residences of Athena’s officers and directors (by the
                    specific person’s name and state).

                    RESPONSE: Athena objects to this interrogatory as vague and not reasonably calculated to
                    lead to admissible evidence. In any case, there are no officers or directors of Athena residing
                    in Texas.

                    Interrogatory No. 4: Identify all trips or travel to Texas done by Athena, including but not limited to
                    its employees or persons otherwise hired or retained by Athena.

                    RESPONSE: Athena objects to this interrogatory as unduly burdensome in that it is overly
                    broad and not sufficiently limited in time or scope. Athena further objects to this Request
                    because it is not reasonably calculated to lead to the discovery of admissible evidence.

                    Interrogatory No. 5: Identify all employees working for Athena who reside or are domiciled in Texas.

                    RESPONSE: Athena objects to this interrogatory as it is not reasonably calculated to lead to
                    the discovery of admissible evidence. Subject to and without waiving the foregoing objection,
                    Athena has one employee residing in Texas named Bailey Jarrell.

                    Interrogatory No. 6: Identify, by banking or financial institution name and location, all bank accounts
                    in Texas of Athena.

                    RESPONSE: Athena does not have a bank account with a Texas bank.

                    Interrogatory No. 7: Identify all websites used by Athena or its parent companies, subsidiaries, or
                    affiliated companies accessible to Texas residents.

                    RESPONSE: Athena objects to this request as unduly burdensome in that it is overly broad
                    and not sufficiently limited in time or scope. Athena further objects that this Request seeks,




                    Defendant’s Supplemental Responses to Plaintiff’s First Set of Personal Jurisdictional Discovery   Page 1




                                                         Exhibit 2-A
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                    at least in part, information which are not relevant to any issue involved in this lawsuit. In any
                    case, Athena’s website is located at: www.athenabitcoin.com.

                    Interrogatory No. 8: Identify all DBAs (doing business as) filed by Athena.

                    RESPONSE: Athena objects to this request for as it is overly broad and not sufficiently limited
                    in time or scope. In any case, Defendant refers to documents produced and Bates labeled as
                    ATHENA 000010-000011.

                                                       REQUESTS FOR ADMISSION

                    1. Athena is registered to do business in Texas.

                    Admit.

                    2. Athena has a registered agent in Texas.

                    Admit.

                    3. Athena has filed Texas franchise tax reports.

                    Admit.

                    4. Athena owns property in Texas.

                    Athena objects to this Request as it is unduly burdensome in that is it overly broad and not
                    sufficiently limited in scope. Athena further objects to this Request because it is so vague,
                    ambiguous and indefinite in its use of the phrase “property” that Athena cannot, in good
                    faith, ascertain what information is sought by this Request without improperly speculating.
                    In any case, Athena will admit that it does own movable, personal property in Texas
                    consisting of the ATMs in operation.

                    5. Athena owns ATMs in Texas.

                    Athena objects to this Request as it is unduly burdensome in that is it overly broad and not
                    sufficiently limited in scope. In any case, Athena will admit that it does own movable, personal
                    property in the form of crypto ATMs in Texas.

                    6. Athena operates ATMs in Texas.

                    Athena objects to this Request as it is unduly burdensome in that is it overly broad and not
                    sufficiently limited in scope. Athena further objects to this Request because it is so vague,
                    ambiguous and indefinite in its use of the phrase “operates” that Athena cannot, in good
                    faith, ascertain what information is sought by this Request without improperly speculating.



                    Defendant’s Supplemental Responses to Plaintiff’s First Set of Personal Jurisdictional Discovery   Page 1




                                                         Exhibit 2-A
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                    In any case, Athena will admit that it does own movable, personal property in the form of
                    crypto ATMs in Texas.

                    7. Athena has employees in Texas.

                    Athena objects to this Request only to the extent that it uses the plural form of “employee.”
                    Athena admits that it has one single employee residing in Texas as identified in Athena’s
                    Answer to Interrogatory No. 5.

                    8. Athena has independent contractors in Texas.

                    Athena objects to this Request as it is so vague, ambiguous and indefinite in its use of the
                    phrase “has” that Athena cannot, in good faith, ascertain what information is being sought
                    by this Request. Athena further objects to this Request as it seeks information that is not
                    relevant to any issue involved in this case and to personal jurisdiction. In any case, Athena
                    can admit that it hires another company, Garda, to service its ATMs located in Texas.

                    9. Athena is doing business in Texas.

                    Athena objects to this request as it is so vague, ambiguous and indefinite in its use of the
                    phrase “is doing business in Texas” that Athena cannot, in good faith, ascertain what
                    information is being sought by this Request. Athena further objects to this Request to the
                    extent that it seeks the responding party to admit a proposition of law. Accordingly, Athena
                    must deny.

                    10. Athena obtains revenue from its work in Texas.

                    Athena objects to this request for as vague and unduly burdensome in that it is overly broad
                    and not sufficiently limited in time or scope. In any case, Athena can admit it may obtain
                    revenue from Alabama, California, Florida, Georgia, Illinois, Texas, Wisconsin, among other
                    jurisdictions consisting on having in operation over 400 ATMs for the sale or purchase of
                    certain cryptocurrencies.

                    11. Athena benefits from doing business in Texas.

                    Athena objects to this Request because it is so vague, ambiguous and indefinite in its use of
                    the phrases “benefits” and “doing business in Texas” that Athena cannot, in good faith,
                    ascertain the information sought by this Request. Athena further objects as this Request is
                    unduly burdensome in that it is overly broad and not sufficiently limited in time or scope.
                    Athena further objects to this Request to the extent that it asks the responding party to admit
                    a proposition at law. Accordingly, Athena must deny.

                    12. The website athenabitcoin.com lists locations for ATMs in Texas.




                    Defendant’s Supplemental Responses to Plaintiff’s First Set of Personal Jurisdictional Discovery   Page 1




                                                         Exhibit 2-A
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                    Athena objects to this request for being vague and irrelevant. Subject to this objection, it is
                    admitted that athenabitcoin.com lists the locations where over 400 ATMs dedicated to the
                    sale of certain cryptocurrencies operate which includes Alabama, California, Florida, Georgia,
                    Illinois, Texas, Wisconsin, among many other jurisdictions.            Notwithstanding the
                    aforementioned, Athena did not have any business dealings, agreement nor ever had any
                    contract with Plaintiff.

                    13. The website athenabitcoin.com lists eight ATM locations in Texas.

                    Admit.

                    14. The website athenabitcoin.com contains a map showing “Our Presence.”

                    Admit.

                    15. The website athenabitcoin.com contains a map showing “Our Presence” with Texas highlighted.

                    Admit.

                    16. The website athenabitcoin.com is accessible by Texas residents.

                    Athena objects to this Request to the extent that it seeks to have Athena admit to information
                    that is not within its personal knowledge. In any case, Athena can admit that it intends its
                    website to be accessible to all internet users, globally.

                    17. The website athenabitcoin.com allows a person located physically in Texas to communicate with
                    Athena.

                    Athena objects to this Request to the extent that it seeks to have Athena admit to information
                    that is not within its personal knowledge. In any case, Athena can admit that it intends its
                    website to be accessible to all internet users, globally.

                    18. The website athenabitcoin.com allows a person located physically in Texas to conduct business
                    with Athena.

                    Athena objects to this Request to the extent that it seeks to have Athena admit to information
                    that is not within its personal knowledge. Athena further objects to this Request because it is
                    so vague, ambiguous and indefinite in its use of the phrase “to conduct business” that Athena
                    cannot, in good faith, ascertain that information that is sought by this Request. Athena further
                    objects to this Request as it is overly broad and not sufficiently limited in scope. In any case,
                    Athena can admit the website is intended to allow any person, wherever they are located and
                    wherever it is permitted, with access to the internet to contact Athena. This includes a person
                    located in the Unites States and its many jurisdictions, including Texas. Athena denies the
                    remainder of the Request.



                    Defendant’s Supplemental Responses to Plaintiff’s First Set of Personal Jurisdictional Discovery   Page 1




                                                         Exhibit 2-A
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                    19. Athena paid Accruvia for work Accruvia performed.

                    Athena objects to this request as it is overly broad and not sufficiently limited in time or scope.
                    Subject to and without waiving the foregoing objection, Athena can admit that, on behalf of
                    another corporation, it paid invoices issued by Accruvia. Athena denies the remainder of the
                    Request. Specifically, Athena denies that it paid Accruvia for work Accruvia performed for
                    Athena.

                    20. Accruvia performed work in Texas for Accruvia.

                    Athena objects to this request as it seeks to have the responding party admit to facts outside
                    its personal knowledge. Accordingly, Athena must deny such Request.

                                                        VERIFICATION/DECLARATION

                            I, Eric Gravengaard, of legal age, married, resident of Winnetka, Illinois declare under penalty

                    of perjury under 28 U.S.C. §1746, the foregoing is true and correct based on my personal familiarity

                    with the documents reviewed to answer the Plaintiff’s First Set of Personal Jurisdictional Discovery.

                            Executed on this ______ day of May, 2022, in __________________, ______________.




                                        l ; DocuSigned by:




                                        ~~=
                            _________________________________
                            Eric Gravengaard




                    Defendant’s Supplemental Responses to Plaintiff’s First Set of Personal Jurisdictional Discovery   Page 1




                                                             Exhibit 2-A
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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

     ROI DEVELOPERS, INC. d/b/a
     ACCRUVIA
                                                          Civil Action No. 4:22-cv-00073-O
        Plaintiff

            v.

     ATHENA BITCOIN, INC.

        Defendant




    DEFENDANT'S RESPONSES TO PLAINTIFF'S FIRST SET OF MERITS DISCOVERY


    TO:             Plaintiff ROI Developers, Inc. d/b/a Accruvia
                    c/o Kelly Stewart
                    K STEWART LAW, P.C.
                    5949 Sherry Lane, Suite 900
                    Dallas, TX 75225

    FROM:           Defendant Athena Bitcoin, Inc. (hereafter " Athena")
                    c/o Larry L. Fowler, Jr.
                    Harris Cook, LLP
                    1309-A West Abram
                    Arlington, TX 76013

            This shall serve as Defendant's Responses to Plaintiffs First Set of Merits Discovery. The

    individual interrogatories and requests for documents have been included for reference in its response

    in bold follows thereto.

                                       GENERAL OBJECTIONS

            A.      Defendant hereby objects to any petition requiring a search for documents or

    information in the possession, custody, or control of unnamed entities, third parties and/or plaintiff

    itself as being unduly burdensome, vexatious, and harassing.



                                                                                               Exhibit
                                      Exhibit 2-B                                                  18
                                                                                               17th Aug 2022
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            B.       Defendant objects to each of the discovery requests to the extent they seek

    information or documents protected from disclosure under the work-product doctrine, the attorney-

    client privilege, or any other privilege.

            C.       Defendant objects to each of the requests to the extent they seek information or

    documents which pertain to or originated in the period prior to the date on which the instant case and

    controversy arose.

            D.       All the objections and responses presented in this document, including Defendant's

    general and specific objections are made without prejudice, to Defendant's right to present additional

    objections as may be deemed appropriate upon further discovery or review of evidence.
                                                      ,,
            E.       All documents marked as " OMITTED have been expunged as privileged documents

    by counsel of record, pursuant to the attorney-client and/or the attorney work-product privileges, and

    they cannot be produced, and shall be properly identified and included in a privilege log for such

    purposes under Fed. R. Civ. P. 26. Also, certain documents may have been redacted to protect

    privileged.

                                                 DEFINITIONS

            The following definitions are incorporated by reference in all of Defendant s specific

    responses and objections to all other discovery requests made to it in this case.

            a)       " Irrelevant,, means not relevant to the issues involved in the pending action and not

    reasonably calculated to lead to the discovery of evidence admissible as to those issues.

            b)       " Impermissibly Overbroad,, means irrelevant, burdensome, and unnecessary to the

    extent the set of interrogatories seek: (1) information about individuals or entities not parties to this

    action; and/or (2) information pertaining to persons, activities and/or events that are outside the

    scope of the present litigation.

            c)       " Vague,, means ambiguous or not specified with reasonable particularity.



    Defendant's Responses to Plaintiff's First Set of Merits Discovery
                                          Exhibit 2-B
DocuSign Envelope ID: B3CC86F1-B15A-4A57-8864-AF0E240D597F

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                                                                        ,,
                             d)       " Unduly burdensome and oppressive means that: (1) it is impossible to produce such

                     document or information in a complete and sufficient manner without making a complex or onerous

                     investigation; (2) the collection or reproduction of such document or information is financially

                     burdensome or unfeasible; or (3) the document or information sought has been previously produced

                     to a party within this action and served upon every attorney involved in the litigation.
                                                      ,,
                             e)       " Unintelligible means that the question as drafted cannot be comprehended thus

                     hindering Defendant from providing an intelligent and responsive answer.
                                                 ,,
                             f)       " Defendant shall exclusively mean Athena Bitcoin, Inc. ("Athena").

                                            RESPONSES TO REQUESTS FOR PRODUCTION

                            1.        All documents concerning Athena's use of any work done or services provided by
                     Accruvia.

                             There are no documents in the possession, custody or control of Athena that are
                             responsive to this Request. There was no work done or services provided to Athena.

                             2.     All documents concerning any benefits obtained by Athena from any work done or
                     services provided by Accruvia.

                             Defendant objects this request for its vagueness, as being unduly burdensome in that
                             it is overly broad, vexatious, and harassing. There was no work done or services
                             provided by Accruvia to Athena.

                              3.     All communications, both internally and externally (other than those protected from
                     disclosure by the attorney-client privilege), about the work done or services provided by Accruvia that
                     is described in Accruvia's First Amended Original Petition.

                             Defendant objects this request for its vagueness and being unduly burdensome in that
                             it is overly broad and lacking in specificity as to the information sought from this
                             request. Furthermore, there was no work done or service provided by Accruvia to
                             Athena.

                             4.      All communications, both internally and externally (other than those protected from
                     disclosure by the attorney-client privilege), about the claims Accruvia has alleged in this lawsuit

                             Defendant objects this request for its vagueness and being unduly burdensome in that
                             it is overly broad and lacking in specificity as to the information sought from this
                             request. Furthermore, there was no work done or service provided by Accruvia to
                             Athena.




                     Defendant's Responses to Plaintiff's First Set of Merits Discovery
                                                             Exhibit 2-B
Case 4:22-cv-00073-O Document 17 Filed 10/24/22                      Page 42 of 82 PageID 260
                                 RESPONSES TO INTERROGATORIES

    Interrogatory No. 1: If any answer to the Requests for Admissions is anything other than an admission,
    state all facts that support your denial or partial denial.

    RESPONSE: See response to each request for admission.

    Interrogatory No. 2: Has Athena used in any manner any work or services performed by Accruvia,
    including but not limited to any use of such work or services in or for ATMs owned by Athena.

    RESPONSE: No. The work done by Accruvia was for another entity in El Salvador and the
    ATMs in that country are not owned by Athena.

    Interrogatory No. 3: Has Athena benefited from in any manner from the work or services performed
    by Accruvia, including but not limited to any benefit for such work or services to ATMs owned by
    Athena.

    RESPONSE: No. The work performed by Accruvia involved the operations of a third party
    in a different country.

                                        REQUESTS FOR ADMISSION

    1.      Athena hired Accruvia to perform software and development work for Athena.

    Denied.

    2.      Athena hired Accruvia to perform work for Athena.

    Denied.

    3.    Athena hired Accruvia to provide support services concerning the software and development
    work Accruvia was doing for Athena.

    Denied.

    4.      Athena hired Accruvia to perform services.

    Denied.

    5.      Athena accepted the work performed by Accruvia.

    Denied.

    6.      Athena accepted the services performed by Accruvia.

    Denied.

    7.      Athena utilized the work performed by Accruvia.

    Denied.


    Defendant's Responses to Plaintiff's First Set of Merits Discovery
                                          Exhibit 2-B
Case 4:22-cv-00073-O Document 17 Filed 10/24/22                      Page 43 of 82 PageID 261




    8.      Athena utilized the services performed by Accruvia.

    Denied.

    9.      Athena utilized the work performed by Accruvia for ATMs owned by Athena.

    Denied.

    10.     Athena utilized the services provided by Accruvia for ATMs owned by Athena.

    Denied.

    11.     Athena benefited from the work done by Accruvia.

    Denied.

    12.     Athena benefited from the services done by Accruvia.

    Denied.

    13.     Athena did not pay Accruvia for any work Accruvia performed.

    Denied.

    14.     Athena did not pay Accruvia for any services Accruvia performed.

    Denied.

                                     VERIFICATION/DECLARATION

            I, Eric Gravengaard, of legal age, married, resident of Winnetka, Illinois declare under penalty

    of perjury under 28 U.S.C. §1746, the foregoing is true and correct based on my personal familiarity

    with any documents reviewed to answer the Plaintiffs First Set of Merits Discovery.

            Executed on this 11th day of August, 2022, in Winnetka, Illinois.




              l ; DocuSigned by:



              ~~~
            _________________________________
            Eric Gravengaard




    Defendant's Responses to Plaintiff's First Set of Merits Discovery
                                          Exhibit 2-B
                Case 4:22-cv-00073-O Document 17 Filed 10/24/22                                                                Page 44 of 82 PageID 262
                        TX2018
                        05-102
                        (Rev.9-15/33)
                                                    Texas Franchise Tax Public Information Report
                                                To be filed by Corporations, Um/red Liability Companies (LLC}, Limited Partnerships (LP},
                                                                                                                                                                                         ■
Ver. 9.0                                                         Professional Associations (PA) and Financiol /nstltutlons
                        ■   Tcode 13196
■   Taxpayer number                                                             ■   Report year                                            You hfffl certain rights under Chopttt 551 ond 559,
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 Taxpayer name
    Athena Bitcoin Inc                                                                                                         ■     0    Blacken circle If the malling address has changed.
 Malllng address                                                                                                                                      Secreta,y of State (SOS) file number or
    211        w.       Wacker
                           ___.....Dr. 900B
                                   --------...,,..----------,..,,.,,--,-...,..---------Comptroller file number
 City                                                          State                                    ZIP code plus 4
    Chica o                                                     IL                                       60606                                        0802506108
Q        Blacken circle If there are currently no changes from previous year; If no Information Is displayed, complete the applicable lnforrnalfon In Sections A, Band C.
 Principal office
    211 W. Wacker Dr. 900B, Chicago, IL 60606
 Principal place of business
    211 W. Wacker Dr. 900B                            Chicaao             IL 60606
You musr report officer, director, member, general partner and manager information as afthe dote you complete this report.

    Pltllll lilll J1!,11.I This report must be signed to satisfy franchise tax requirements.
        ,_-µ                    •                                                                                                                               3206110636818
SECTION A Name, tltle and malllng address of each officer, director, member, general partner or manager.
Name                                                        TIiie                             Director                                                          m   m  , ,  d    d
                                                                                                                                                         j
 Eric Gravengaard                                                           President                                         Q    YES        Term
                                                                                                                                              expiration   I I I I I
 Malling address                                                            City                                                              State          IZIPCodl!
 211 w. w~cker Dr. 900B                                                     Chic~ao                                                                IL         60606
 Name                                                                       Title                                         Director                              m   m  , ,  d    d
                                                                                                                              Q    YES        Term
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                                                                                                                                                         I I I I I I
 Malling address                                                            City                                                              State          IZIP Code
 Name                                                                       Title                                         Director                              m   m  , ,  d    d
                                                                                                                              Q    YES        Term
                                                                                                                                              expiration
                                                                                                                                                         I I I I I I
 Malling address                                                            City                                                              State                     I
                                                                                                                                                                        ZIP Code

SECTION 8 Enter information for each corporation, LLC, LP, PA or financial institution, if any, in which this entity owns an interest of 1opercent or more.
 Name of owned (sub1ldlary) corporation, LLC. LP. PA or financial Institution                   State of formation                 Texas SOS file number, If any    Percentage of ownership

 Name of owned {subsidiary) corporation, LLc. LP. PA or financial Institution                   State of formation                 Texas SOS file number, If any    Percentage of ownership


SECTION C Enter information for each corporation, LLC, LP, PA or financial institution, if any, that owns an interest of 1O percent or more In this entity.
Name of owned (parent) corporation, LLC, LP. PA or financial Institution                        I
                                                                                                State of formation                ITexas SOS file number, If any IPercentage ofownership
Regl1te1ed agent and registered office currently on file (see insrrucr/ons ifyou nerd to make changes)                    You must make o filing with the Secttta,y ofState to change reg/stem!
Agent:         National Reaistered Aaents                               Inc.                                              ogenr, ,eg/Jrettdoffice or generol ponner lnfonnotlan.

 Office: 1999 Brvan St.                        Ste 900                                                  I
                                                                                                       City
                                                                                                       Dallas
                                                                                                                                                     !State
                                                                                                                                                           TX
                                                                                                                                                                         JZIP Code
                                                                                                                                                                          75201
The Information on this form Is required by Section 171.203 ohhe Tax Code fur each corporation, LLC, LP. PA or financtal Institution that files a Texas Franchise Tax Report. Use additional
sheets for Sections A. II and C. If necessary. The Information will be available for pubUc Inspection.
 I declare that the Information In this document and any attachments Is true and correct to the best of my knowledge and belief, as of the date below, and that a copy of this report has
 been malled to each person named In this report who Is an officer, director, member, general partner or manager and who Is not currently employed by this or a related corporation,
 LLC. LP. PA or financial Institution.

sign ►
                                                                                         Title                        Date                                Area code and phone number
here Eric Gravenaaard                                                                   I
                                                                                        CEO                               I   05/07/2018                        (312) 690· 4466
                                                                       Texas Comptroller Official Use Only

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                                                                                                                                                          ATHENA 000                        Exhibit
                                                                                    Exhibit 2-C                                                                                                   4
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                 Case 4:22-cv-00073-O Document 17 Filed 10/24/22                                                                         Page 45 of 82 PageID 263

                                                        Texas Franchise Tax Public Information Report
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TX2019     05.102
Ver. 10. 0 (Rev,M S/ll)                           To be fried by Corporations, Limited Liability Companies (LLC), Limited Partnerships (LP),
                                                                  f lf)fessillnal Associations (PA) and Financial Institutions
                   ■ Tcode          13196
■ Taxpayer      number                                                                ■   Report year
                                                                                                                                                     You have clll'fllln rlg/115 under Cnapter "2 and 559,
     32061106368
Taxpa~r name
                                                                           I I2019                                I                             Govemmenr COde. 10 review request and c,:mect mlonnar,on
                                                                                                                                                  we have on file atJout }Ou. Contact us at 1°800-252·1381


  At ena Bitcoin                         Inc.                                                                                        I■    D     Check box if the mailing address has changed.
Mailinrddress                                                                                                                                                Secretary of State {SOS) file number or
  21 W. Wacker Dr. 900B                                                                                                                                      Comptroller file number
 1
c~                                                               IState                                      IZIP code plus 4
   hicaao                                                            IL                                                   60606                              0802506108
~           Check box if there are currently no changes from previous year, if no information is displayed, complete the applicable information in Sections A, B and C.
Prirzjpa office
     55 W. Goethe St. #1219 Chicago, IL 60610
PrincipalJ)lace of business
     1999 Brvan St.                     Ste. 900 Dallas, TX 75201
 You must report officer, director, member, general partner and m,mager information as of the dale you complete this report.

Please sign below!                  This report must be signed to satisfy franchise tax requirements.
                                                                                                                                                              IIIHIHIHIIII
                                                                                                                                                                        3206110636819
SECTION A           Name, title and mailing address of each afficer, direct~r. member, general partner or manager.
Name                                                                           TiUe                                                Director                             m       m    d       d     y     y
                                                                                                                                                     Term
 Eric Gravengaard                                                                                                                   DYES             expiration     I
Mailing address                                                                City                                                                 ,late                        IZIP Code
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Name                                                                           T1Ue                                                Director                             m       m d d              y     y
                                                                                                                                                     Term
                                                                                                                                    □     YES        expiration     I
Maihng address                                                                 City                                                                 IState                       jZIP Code
Name                                                                           TiUe                                                Director                             m    m       d       d     y     y
                                                                                                                                                     Term
                                                                                                                                    DYES             expiration     I
Mailing address                                                                c,1y                                                                 State                       IZIP Code

SECTION B           Enter information for each corporation, LLC, LP, PA or financial nstitutIon, if any, in which this entity owns an interest of 10 percent or more.
Name of owned {subsidiary) corporation, LLC, LP, PA or financial institution                         State of formation                  ITexas SOS lite number, 1f any          fercentage of ownership
Name of owned {subsidiary) corporation, UC, LP, PA or financial .nsbtut1on                           State of formation                  !Texas SOS file number, 1f any          Percentage of ownersh'p


SECTION C           Enter information for each corporation, LLC, LP, PA or financial institution, if any, that owns an interest of 10 percent or more in this entity.
Name of owned {parent) corporation, UC, LP, PA or financ al mst1tut1on                               Ftate of formation                  rem SOS file number, If any            rercentage of ownership

Registered agent and registered office currenUy on lile (see instructions 11 you rllled to make changes)                        You must make a Ii/mg with the Secretaiy of State to change registered
~nt National Reaistered Agents, In                                                                                              agentregisteredofficeorgeneralpartner informali on.

Office: 1999 Brvan St.                       Ste. 900                                                1c~allas                                           ISlate TX                     fo/t2dOl
The information on this form 1s required by Section 171 .203 of the Tax Code for each corporation U C LP, PA or financial InslItubon that files aTexas Franch;se Tax Report use additional
sheets for Sections A. B. and C, ii necessa The infoonation will be available for ublic ins eclion,
I declare that the information in this document and any attachments is true and correct to the best of my knowledge and belief, as ol the date below, and that a copy of this report has
been mailed to ~ach ~er~n ~amed in this report who is an officer, director, member, general partner or manager and who is not currently emp.oyed by th s or a related corporation,
                                                                                              Ille                                Date                                  ea code and phone number
                                                                                             CEO                                                                        (312) 878-8599


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                                                                                          Exhibit 2-C
             Case 4:22-cv-00073-O Document 17 Filed 10/24/22                                                                  Page 46 of 82 PageID 264

TX2020            05-102
Ver. ll. 0 (Rev.9-15/33)
                                                   Texas Franchise Tax Public Information Report
                                             To be filed by Corporations, Limited Liability Companies (LLC), Limited Partnerships (LP),                                                     ■
                                                              Professional Associations (PA) and Financial lnstrtutions
                  ■ Tcode       13196
■ Taxpayer   number                                                              ■   Report year
                                                                                                                                           You have certain rights unc/er Chapter 552 anc/ 559.
                                                                                                                                     Government Code. to ,ev,-ew ,equest and correct infOnnaUan
  32061106368                                                        I           12020                       I                          we have en ~lo about you. Contact us at 1·800-252-1381
Taxpahr name
 At ena Bitcoin Inc.                                                                                                      I■    D  Check box ii the mailing address has changed.
Mail in~address                                                                                                                             Secretary of State (SOS) file number or
  13 2 N. Halsted Suite 403, 401                                                                                                            Complro ter file number
C1~                                                        1s1ate                               IZIP code plus 4
    hicaao                                                    IL                                            60642                            0802506108
D      Check boi if there are currently no charrges from previous year; if no informaUon is displayed, comp ele the applicable information in Sections A, B and C.
Printjpal office
  5~ W. Goethe St. #1219 Chicaao, IL 60610
Principal _place of business


                                                                                                                                                  IIIIIIHIHHII
  1999 Brvan St. Ste. 900 Dallas. TX 75201
You must report officer, director. member, general partner and manager mformat;on as of the date you , omplete this report.

Please sign below!              This report must be signed to satisfy franchise tax requirements.
                                                                                                                                                              3206110636820
SECTION A Name, title and ma.ltng address of each off,cer, d rector, member, general partner or manager.
Name                                                                      Ttlle                                         Director                             m     m      d      d      y      y
                                                                                                                                          Term
Eric Gravengaard                                                                                                         □     YES        expiration     I
Mailing address                                                           City                                                            State                      IZIP Code
 11-6 Wnnrl l ~nil lh•=.,110                                              r'hi ,....,,.,.n                                                     TT                    160606
Name                                                                      TIiie                                         Director                             m     m      d      d      y      y
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Ma ling address                                                           City                                                            state                      IZIP Code
Name                                                                      Title                                         Oirecl(ll                            m     m      d      d      y      y
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Mailing address                                                           City                                                           ~tale                       IZIP Code

SECTION B       Enter information for each corporation, LLC, LP, PA or financial inst,tulion, if any, in which this entity owns an interest of 10 percent or more.
Name of owned (subsidiary) corporation, LLC, LP, PA or financial tnsblu1 on                     Stale of formation            [Texas SOS hie r umber, 1f any         Percentage of ownership

Name of owned (subsidiary) corporation, LLC, LP, PA or financial insblubon                      State of formation             exas SOS hie number, 1f any           Percentage of ownership


SECTION C Enter infonnalion for each corporation, LLC, LP, PA or financial ns~tution, ,f any, that owns an interest of 10 ~ rcent or more in this entity.
Name of owned (parent) corporation, LLC, LP, PA or financial mslitul1on                      1s1ate of formation              f ,exas SOS file number, if any        rercentage of ownership

Registered agent and registered office currently on file (see 111struct1ons 1(you need to make changes)               You must make a filing with the Secretary of State to change registered
Agent National Reaistered Aaents. In                                                                                  ar;eniregisteredofficeorgenera/partner informat,on.

Office: 1999 Brvan St.                       Ste. 900                                               1c~allas                                              ISlate TX          1rJ2~1
                                                                                                                                                                              2

The information on !his form JS required by Section 171203 of the Tax Code for each corporat10n. LLC, LP PA or financial 1nstitut10n Illa! files a Texas Franchise Tax Report. Use additional
sheets for Sections A. B, and C, ,f necessa The information will be available for blic ins ection
I declare that the 1nformal10n 1n lhis document and any attachments is true and correct to the best ol my knowledge and belief, as of the date below, and that a copy of this report has
been mailed to each person named in this report who is an off:cer, director, member, general partner or manager and who ii oot currently employed by this or a related corporation,
                                                                                         1tle                          Date                                  rea code and phone number
                                                                                         CEO                                                                  (312) 878-8599
                                                                      Texas Comptroller Official Use Only

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                                                                                     Exhibit 2-C
               Case 4:22-cv-00073-O Document 17 Filed 10/24/22                                                                Page 47 of 82 PageID 265
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TX2021
Ver 12 0
                    05-102
                    (Rev 9-15/33)
                                                      Texas Franchise Tax Public Information Report
                                                  To be filed by Corporations. Limited Liability Companies (LLC). Limited Partnerships (LP).
                                                                                                                                                                                                  ■
                                                                   Professional Associations (PA) and Financial Institutions

                    ■Tcode           13196
■ Taxpayer       number                                                           ■ Report year                                      You have r:atta/n rights under Chapter 552 and 559,
                                                                                                                              Government Code, to review, request and COl1'f!Ct information
                                                                                                                                we have on file allout )IOU Contact us at 1-IJ00.252•1381
                                                                                                                              ■    D     Blacken box if the mailing address has ci1anged.

Maillng address                                                                                                                                     Secretary of State (SOS) file number or
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City       CHICAGO                                               State    IL                         ZIP code plus 4        o0t~ ~                   0802 506108


       Blacken box if there are currenll no cnan es from revlcus               r; l no Inform ation Is d,s I ed, ccm lete the a plicable information in Sections A Band C
Principal office       55   w.   GOETHE ST, *1219 CHICAGO            IL 60610
Prlnc pal placeofbusiness                  1999 BRYA!I ST ., STE . 900 DAr.LAS TX 75~ 0 1


You must report officer, director. member; general partner and manager information as of the date You complete this report

Please sign below/                        This report must be signed to satisfy franchise tax requirements.
                                                                                                                                                                     3206110636821
SECTION A Name title and mait:ng address of each otrocer director, member, general panner or manager
Name                                                                           r ue                                     Director                                     m   m      d    d        y      y

                                                                                                                          0     YES
      ERIC GAAVEl!GAARD
                                                                               City
                                                                                                                                            Term
                                                                                                                                            expiration
                                                                                                                                            Stale
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Malling address        I 66 WOODLA!10 AVE!lUE                                          :nlCi\J~                                                          :1                  IZIP Code   6-   (iJ~

Name                                                                           Title                                    Director                                     m   m      d    d        y      y

                                                                                                                          0     YES         Term
                                                                                                                                            explralicn        I
Mailing address                                                                City                                                         State                            IZIP Code
Name                                                                           Tille                                     Director                                    m   m      d    d        y      y

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                                                                                                                                            expiration        I
Mailing address                                                                City                                                         State                            IZIP Code


SECTION B Enter information for each corporation, LLC LP PA or financial nstitutlon 11 311y in 'l'>'nich this entity owns an interest of 10 percent or more.
Name of owned (subsidiary) ccrporation, LLC, LP, PA or financial institution                 Slate of formation                 Texas SOS fde number      1f 811)'       Percentage of ownerShip


Name of owned (subsidiary) corporation, LLC, LP, PA or financial institution                 Slate of formation                 Tea:as SOS me number 1f any              Percentage of Ol',Tlership




Name of owned (parent) corporation, LLC. LP, PA or financial institulion                    IState of formation               I
SECTION C Enter information for each corporation. LLC, LP, PA or financial institution. if any that owns an interest of 10 percent or more in this entity
                                                                                                                                  Te.as SOS file number ,r any           I
                                                                                                                                                                         Percentage of Ol',TlerShip


Registered agent and registered office a,rrently on file (.see Instructions if you need to make changes)                You must ma tee a filmg with the Secretary of State Jo changl, registered
                                                                                                                        agent, r1191&terrtd office or genttnJf partr»r irrformat,Ol'I.
Agent:      NATIC!IA!, R~GISTERED AGEUTS,             Ill
Office:      1939 BRtA!IT ST . , ST ~. 900                                                                                                                 IState ; ,;         I ZlPCode ,~~~•

The inforrna11on on lh•s form 11 ,equ,red by See110n 171 203 cf the TM Code for each co.rporahon LLC. lP PA or financial 1an 1t1tub0n that t~es a Teus Franchise Tax Report Use add11t0n0l
sheets for Sec!ions II. Band C.11 necessary Tne informa1,on will be ava~able for public n spec1,on

  ~   d ed8f8 ttlal the infotma11cn 1n this document and any attachment, is true and c.orrect to lhe best of my knowledge aid betief as of the date below and that a ccpy of this report has

  been ma"ed lo each person natned in thi s t epon who is an officer <lit ector member general partner or manager and who is nol curtenlly employed by thI1 or a retated corporatm,

  U.C. LP. PA or r.naneial institution.
                                                                                                                                                               Area code and phone number




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7/25/22, 10:12 AM                                               Texas - Alhena Bltcoln
                Case             4:22-cv-00073-O Document 17 Filed 10/24/22 Page 48 of 82 PageID 266


                           ATHENA
                                                                                                                           -
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                                                                           ATM Locations




                                                                     Texas
                                                       Note: There are no cash-dispensing locations In Texas yet.




                                  Houston-area

                                  Greenway Commons (outdoor)
                                  Address:
                                  3651 Weslayan St
                                  Houston, TX 77027
                                  United States
                                  Open hours:
                                  24n
                                  More Info (/bitcoln•atm•houston-tx-greenway-commons)


                                                                          Get Directions
                                     (tittps://maps.google.corn/7saddr-Current+Locatlon&daddr-29.7343818O,•95.44O9992O)




                                  WIiiowbrook Plaza (outdoor)
                                  Address:
                                  17395 Tomball Pkwy
                                  Houston, TX 77064
                                  United States
                                  Open hours:
                                  24n
                                  More Info (/bltcoln-atm-houston-tx-wlllowbrook-plaza)


                                                                    Get Directions
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             •fop                 Best Royal Liquor
                                                                                                                          Exhibit
                                  Address:                                Exhibit 2-D                                          7
                                                                                                                          17tt Aug 2022
 7/25/22, 10:12 AM
                 Case 4:22-cv-00073-O Document 17 Filed Texas - Athena Bltcoln
                                                        10/24/22         Page 49 of 82 PageID 267

                            ~                                                                                                                    --
                      ATHENA
   P,ttps;//•tht-o.cam,ll


                                Tues-Sat: 1O:OOam-9:00pm
                                Sun: CLOSED
                                More Info (/houston-tx-best-royal-llquor/)


                                                                                                                          Get Directions
                                   (https://www.google.com/maps/place/11023+Telephone+Rd,+Houston,+TX+no75/@l29.6049148,·95.2877352,17Z/data=l3ml !4b1 !4
                                                                                                                          95.2855465)




                                Dallas/Fort Worth

                                East Food Mart
                                Address:
                                2740 Sandy ln
                                Fort Worth, TX 76112
                                United States
                                Open hours:

                                Mon-Fri: 9:00am•1O:OOpm
                                Sat:CLOSED
                                Sun: 9:00am-1 O.OOpm

                                More Info (/fort-worth-tx-east-food-mart/)


                                                                                                                         Get Directions
                                   (https://www.google.com/maps/place/274o+Sandy+Ln,+Fort+Worth,+TX+76112/@32.7392822,·97.2012576,17Z/data=f3m1 !4b1 !4m~
                                                                                                                         97.1991491)




                            Zoom Food Mart
                            Address:
                            5651 Meadowbrook Dr
                            Fort Worth, TX 76112
                            United States
                            Open hours:
                            Mon-Fri: 7:00 am - 10:00 pm
                            Sat-Sun: 7:30 am - 10:30 pm
                            More Info (/bitcoln•atm-fort-worth·tx-zoom-food•mart)


                                                                                                                         Get Directions
                                   (https://www.google.com/maps/dfr//5651 +Meadowbrook+Dr,+Fort+Worth,+nc+76112/@)32.7464511,·97.2676712,13Z/data=!4mB!4m
                                                                                                                  97.2326516!2d32.7463838)




          H l1              Sugar Land

                                                                       Exhibit 2-D
                            Bargain Liquor

https://athenabltcoln.com/atms-texas/                                                                                                                 214
7/25/22, 10:12 AM                                                                   Texas • Athena Bltcoln
                        Case 4:22-cv-00073-O Document 17 Filed 10/24/22                                 Page 50 of 82 PageID 268


                           ATHENA
                                                                                                                                                 --
  (ht1ps://aellenot,;o:0hcanv)



                                 Sun:CLOSED
                                 More Info (/sugar·land-tx·bargaln-llquor/)


                                                                                                                              Get Directions
                                    (https://www.google.com/maps/place/13500+W+Alrpor1+Blvd+g,+Sugar+Land,+TX+77498/@29.6514851 ,-95.6225621, 17z/data=l3m
                                                                                                                              95.6203734)




                                 Nancys Liquor Express
                                 Address:
                                 209 S Blue Mound Rd
                                 Fort Worth, TX 76131 USA
                                 Open hours:
                                 Mon-Sat: 10:00 am - 9:00 pm
                                 Sun: Closed
                                 More Info (/nancys•llquor-express•atm•texas/)


                                                                        Get Directions
                                    (https://.maps.google.corn/7saddr=Current+Locatlon&daddr=32.86029590,·97.34275290)



                                 Kemah

                                 Firehouse Vapors

                                 Address:

                                 2094 Marina Bay Dr
                                 Kemah, TX 77565
                                 United States
                                 Open hours:
                                 Mon•Sat: 8:00am-10:00pm
                                 Sun: 10:00am•5:00pm

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                                                                           Commitment to Security(/Commltment-to•Security)

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                                           ABIT Experience Center(/experience-center/)      ACE I Vida SV(https://www.athenacryptoexchange.com/ace-vlda-sv)

                                                                                         Athena Pay(/athena•pay)


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                                               Twitter(https://lwitter.com/AthenaBltcoin)    llnkedln(https://www linkedln.com/company/athenabitcoin/)

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           Help



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From: Bill.com <accounHervices@hg.bill.com>
Date: Fri, Nov 5, 2021, 3:22 PM
Subject: Your Invoice #1B1052 was received!
To: <soverton@roidevs.com>




                                                 bill
                        Track your payment from Athena Bitcoin Inc


                                                          7




                                                 $8428.34
                                                   Total amount

           Good news! Athena Bitcoin Inc is getting ready to pay you for invoice #1B1052. We'll let you
                                    know when the payment is on its way.


                   Sign in to track status, see payment details, or send a note to your customer.



                                                  Track Status




                                                                                                    Accruvia   Exhibit
                                                  Exhibit 2-E                                                      10
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                                   © 2021 Bill.com, LLC
                       6220 America Center Drive, San Jose, CA 95002

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  Table nfCnnlcnl,


                                  As filed with the Securities and Exchange Commission on February 10, 2022

                                                                                                                  Registration No. 333~

                                                 UNITED STATES
                                     SECURITIES AND EXCHANGE COMMISSION
                                                             Washington, D.C. 20549

                                                                  FORM S-1
                                                         REGISTRATION STATEMENT
                                                                  UNDER
                                                                                                                                            _,            N
                                                         THE SECURITIES ACT OF 1933                                                                       N
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                                                         Athena Bitcoin Global                                                               ><           £
                                                                                                                                            w             ~
                                                (Exact name of registrant as specified in its charter)

                       Nevada                                           6099                                         XX-XXXXXXX
            (State or other jurisdiction of                (Primary Standard Industrial                           (I.R.S. Employer
           incorporation or organization)                  Classification Code Number)                         Identification Number)

                                                         1332 N Halsted St Suite 403
                                                             Chicago, IL 60642
                                                               (312) 690-4466
              (Address, including zip code, and telephone number, including area code, of registrant's principal executive offices)

                                                               Eric Gravengaard
                                                             Chief Executive Officer
                                                           1332 N Halsted St Suite 403
                                                               Chicago, IL 60642
                                                                 (312) 690-4466

                        (Name, address, including zip code, and telephone number, including area code, of agent for service)

                                                         Copies of all communications to:

                         Iwona Alami, Esq.                                                                 Matthew Ogurick
                     Law Office of Iwona J. Alami                                                            Sarah Stewart
                       620 Newport Center Dr.                                                              K&L Gates, LLP
                             Suite 1100                                                                  599 Lexington Avenue
                      Newport Beach, CA 92660                                                            New York, NY 10022
                           (949) 200-4626                                                                   (212) 536-390 I

         Approximate date or commencement of the proposed sale to the public: As soon as practicable after this registration
 statement becomes effective.

          If any of the securities being registered on this Form arc to be offered on a delayed or continuous basis pursuant to Rule 415
 under the Securities Act, check the following box: I&!

         [f this Form is filed to register additional securities for an offering pursuant to Ruic 462(b) under the Securities Act, please
check the following bmt and list the Securities Act registration statement number of the earlier effective registration statement for the
same offering. D

          If this Form is a post-effective amendment filed pursuant to Ruic 462(c) under the Securities Act, check the following box and
list the Securities Act registration statement number of the earlier effective registration statement for the same offering. .     Ex hibit
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                            If this Form is a post-effective amendment filed pursuant to Ruic 462(d) under the Securities Act, check the following box. and
      list the Securities Act registration statement number of the earlier effective registration statement for the same offering. D

               Indicate by check mark whether the registrant is a large accelerated tiler, an accelerated filer, a non-accelerated filer, a smaller
      reporting company or an emerging growth company. Sec the definitions of "large accelerated filer," "accelerated filer," "smaller
      reporting company" and "emerging growth company" in Ruic 12b-2 of the Exchange Act.

                   Large accelerated filer D                                                                                                                                         Accelerated tiler □
                   Non-accelerated tiler 181                                                                                                                                         Smaller reporting company 181
                                                                                                                                                                                     Emerging growth company ~

              If an emerging growth company, indicate by checkmark if the registrant has not elected to use the extended transition period
      for complying with any new or revised financial accounting standards provided pursuant to Section 7(a)(2)(B) of the Securities Act. D


     The Registrant hereby amends this Registration Statement on such date or dates as may be necessary to delay its effective date
     until the Registrant shall file a further amendment which specifically states that this Registration Statement shall thereafter
     become effective in accordance with Section 8(a) of the Securities Act of 1933, as amended, or until the Registration Statement
     shall become effective on such date as the Securities and Exchange Commission, acting pursuant to said Section 8(a), may
     determine.




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  The information in this prospectus is not complete and may be changed. These securities may not be sold until the registration
  statement filed with the Securities and Exchange Commission is declared effective. This prospectus is not an offer to sell nor
  does it seek an offer to buy these securities in any jurisdiction where the offer or sale is not permitted.

                                             Subject to completion, dated Februa11· 10, 2022


                                                       [ •] Shares of Common Stock




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                                                          ATHENA
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 This prospectus relates to the resale or other disposition of up to [ •] shares of Athena Bitcoin Global common stock, par value S0.00 I
 per share (the "common stock" or "shares"), which may be offered for sale from time to time by the selling shareholders named in this
 prospectus (each a "Selling Shareholder" and, collectively, the "Selling Shareholders"). The shares of our common stock covered by
 this prospectus include: (i) 409,413,900 shares of common stock that were issued by us to the Selling Shareholders in the share
 exchange transaction or were purchased by the Selling Shareholders in private transactions, and (ii) up to [ • l shares of common stock
 issued or issuable upon exercise of our outstanding 6% Convertible Debentures Due 2023 (the "Convertible Debentures") which were
 issued in connection with a private placement financing in 2021. We arc registering the resale of the shares of common stock
 underlying the Convertible Debentures as required by the Securities Purchase Agreement that we entered into with the Selling
 Shareholders as of June 22, 2021, which provided said Selling Shareholders with certain registration rights with respect to the common
 stock issuable upon conversion of the Convertible Debentures (the "Purchase Agreement"). We arc not selling any shares of common
 stock under this prospectus and will not receive any proceeds from the sale of any shares of common stock by the Selling Shareholders.
 The Selling Shareholders will bear all commissions and discounts, if any, attributable to the sale or other disposition of the shares of
 common stock. We will bear all costs, expenses and fees in connection with the registration of the shares of common stock.

 Our common stock is quoted on the OTC Pink Market ("OTC Pink") operated by the OTC Markets Group, Inc. under the symbol
 "ABIT". On [ • ], 2022, the last reported sale of our common stock was$(•]. There is a limited public trading market for our common
 stock. You arc urged to obtain current market quotations for the common stock.

 Until such time as our common stock is quoted on the OTCQB, the shares covered by this prospectus will be sold by the Selling
 Shareholders from time to time at a fixed price of S[ •] per share, representing the average of the high and low prices as reported on the
 OTC Pink on [• ], 2022 subject to the agreement between the Company and individual shareholders. No such agreements arc currently
 in place. If and when our common stock is regularly quoted on the OTCQB, the Selling Shareholders may sell their respective shares
 of common stock, from time to time, at prevailing market prices or in privately negotiated transactions.

 Our registration of the shares of common stock covered by this prospectus docs not mean that the Selling Shareholders will offer or sell
 any of the shares. The Selling Shareholders may offer and sell or otherwise dispose of the shares of common stock described in this
 prospectus from time to time through public or private transactions at prevailing market prices, at prices related to prevailing market
 prices or at privately negotiated prices at varying prices. Sec "Plan of Distribution" which begins on page 87 of this prospectus for
 more information.

This offering will terminate on the earlier of (i) the date when all of the shares have been sold pursuant to this prospectus or Ruic 144
under the Securities Act of 1933, as amended (the "Securities Act"), (ii) or the date that all of the securities may be sold pursuant to
Ruic 144 without volume or manner-of-sale restrictions, (iii) or we decide at any time to terminate the registration of the shares at our
sole discretion.

We have made no written communications as defined under Ruic 405 of the Securities Act to prospective investors or investors.

You should rely only on the information contained in this prospectus. We have not authorized anyone to provide you with information
different from that contained in this prospectus. The infonnation contained in this prospectus is accurate only as of the date of this
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  Investing in our shares involves a high degree or risk. You should carefully consider the Risk Factors beginning on page to or
  this prospectus before you make an investment in our securities.

  We arc an "emerging growth company" as that tenn is used in the Jumpstart Our Business Startups Act (the "Jobs Act") and defined
  under the federal securities laws and, as such, may elect to comply with certain reduced public company reporting requirements in
  future reports after the completion of this offering. Sec "Pro~ncctus Summar,:- lmP.lications of Being an Emerging Growth Comr.anJ.."

  We may amend or supplement this prospectus from time to time by filing amendments or supplements as required. You should
  carefully consider the risks and uncertainties described under the heading "Risk Factors" beginning on page 11 of this prospectus
  before you make an investment decision.

  Neither the Securities and Exchange Commission nor any state securities commission has approved or disapproved of these
  securities or passed upon the accuracy or adequacy of this prospectus. Any representation to the contrary Is a criminal offense.


                                                     This Prospectus is dated [ •], 2022.




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 You should rely only on information contained in this prospectus. We have not authorized anyone to provide you with information
 other than that contained in this prospectus or in any free writing prospectus we may authorize to be delivered or made available to
 you. We take no responsibility for and cannot provide any assurance as to the reliability of any other information others may give you.
 The Selling Shareholders arc not offering to sell or seeking offers to buy shares of common stock in jurisdictions where offers and sales
 arc not permitted. The information in this prospectus or any free writing prospectus is accurate only as of its date, regardless of its time
 of delivery or of any sale of shares of our common stock. Our business, financial condition, results of operations, and prospects may
 have changed since that date. We are responsible for updating this prospectus to ensure that all material Information is included
 and will update this prospectus to the extent required by law.

 For investors outside of the United States: Neither we nor any of the Selling Shareholders have done anything that would permit this
 offering or possession or distribution of this prospectus in any jurisdiction where action for that purpose is required, other than in the
 United States. Persons outside the United States who come into possession of this prospectus must inform themselves about, and
 observe any restrictions relating to, the offering of common stock by the Selling Shareholders and the distribution of this prospectus
 outside of the United States.




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                                                       ABOUT THIS PROSPECTUS

            This prospectus is a part of a registration statement on Fonn S- 1 that we filed with the Securities and Exchange Commission
  (the "SEC") using a "shelf' registration or continuous offering process. Under this shelf process, the Selling Shareholders may, from
  time to time, sell the shares of common stock covered by this prospectus in the manner described in the section titled "Plan of
  Distribution." Additionally, wc may provide a prospectus supplement to add information to, or update or change information contained
  in, this prospectus (except for the section titled "Plan of Distribution," which additions, updates, or changes that arc material shall only
  be made pursuant to a post-effective amendment). You may obtain this infonnation without charge by following the instructions under
  the section titled "Additional Information" appearing elsewhere in this prospectus. You should read this prospectus and any prospectus
  supplement before deciding to invest in our shares.

                                                    INDUSTRY AND MARKET DATA

            Market data and certain industry data and forecasts used throughout this prospectus were obtained from internal Company
  surveys, market research, consultant surveys, publicly a\'ailablc information, reports of governmental agencies and industry
  publications and surveys. Industry surveys, publications, consultant surveys and forecasts generally state that the information contained
  therein has been obtained from sources believed to be reliable, but the accuracy and completeness of such infonnation is not
  guaranteed. We have not independently verified any of the data from third party sources, nor have we ascertained the underlying
  economic assumptions relied upon therein. Similarly, internal surveys, industry forecasts and market research, which we believe to be
  reliable based on our management's knowledge of the industry, have not been independently verified. Forecasts arc particularly likely
  to be inaccurate, especially over long periods of time. Statements as to our market position are based on the most currently available
  data. While we arc not aware of any misstatements regarding the industry data presented in this prospectus, our estimates involve risks
  and uncertainties and arc subject to change based on various factors, including those discussed under the heading "Risk Factors" in this
  prospectus.




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                                         GLOSSARY OF BITCOIN AND CRYPTO TERMS

     •    Address: An alphanumeric reference to where crypto assets can be sent or stored.

      •   Ankr; An Ethercum token that powers a decentralized public blockchain infrastructure that aims to make it easy and
          affordable for anyone to participate in blockchain ecosystems.

     •    Bitcoln: The first syslcm of global, decentralized, scarce, digital money as initially introduced in a white paper titled Bitcoin:
          A Peer-to-Peer Electronic Cash System by Satoshi Nakamoto. Bitcoin, while having several of the primary attributes of
          money, is not considered a currency or money in the jurisdictions that the Company operates, with the exception of El
          Salvador where it is legal tender.

     •    Bitcoin ATM: A kiosk that can be used by a Customer to buy or sell Bitcoin or other crypto assets in exchange for Cash.

     •    Bitcoin Cash (BCH): A fork of Bitcoin that seeks to add more transaction capacity to the network in order to be useful for
          everyday transactions. BCH is based on the original Bitcoin blockchain with some distinct differences. A major one is an
          increased maximum block size of 32MB, compared to just 1MB on Bitcoin. Increased block size allows BCH to process
          transactions faster than Bitcoin, with lower fees and an increased per-second transaction capacity.

     •    Bitcoin SV: A fork of Bitcoin Cash (BCH), also known as Bitcoin Satoshi's Vision, that attempts to restore the original
          Bitcoin protocol to align with Bitcoin inventor Satoshi Nakamoto's original vision for the blockchain network.

     •    Block: A grouping of Transactions validated by Miners and disseminated by lhc Network to servers that maintain the records
          in a Blockchain. Blocks arc added to an existing Blockchain as transactions occur on the network. Miners arc rewarded for
          "mining" a new block.

     •    Blockchain: A cryptographically secure digital ledger that maintains a record of all transactions that occur on the network and
          follows a consensus protocol for confirming new blocks to be added to the blockchain.

     •    Cash: The physical specie or banknotes of a sovereign country including the US Dollar and other countries that issue fiat
          currency in paper formats.

     •    Chivo: Official Bitcoin platform of El Salvador that supports the use of Bitcoin as legal tender in the country. The platform
          facilitates the exchange of Bitcoin and US dollar between users and their countcrparties. The Chivo brand, which is the
          exclusive property of the government of El Salvador, is used across multiple products and services including a mobile wallet
          (Chivo wallet), integrated ATMs (Chivo ATMs) and point-of-sale ("POS") terminals.

     •    Cold storage: The storage of private keys in any fashion that is disconnected from the internet. Common cold storage
          examples include oftline computers, USB drives, or paper records.




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       •   Confirmation: A Bitcoin or similar transaction is considered confinned when it is included in a new Block in the Blockchain.
           Each time another block is appended to the chain, the Transaction is confirmed again.

       •   Crypto: A broad term for any cryptography-based market, system, application, or decentralized network.

       •   Cryptocurrcncy: Bitcoin and alternative coins, or 'altcoins'. This category of crypto asset is designed to work as a medium
           of exchange, store of value, or to power applications and excludes security tokens.

       •   Customer: A retail user of our Bitcoin ATMs or client of one of our other services.

       •   Customer Buying: When a Customer acquires Bitcoin or crypto asset in exchange for Cash or a Wire Transfer. In these
           transactions, the Company is selling Bitcoin or crypto asset and acquiring Fiat Currency.

      •    Customer Selling: When a Customer acquires Fiat Currency, either Cash or Wire Transfer, in exchange for Bitcoin or crypto
           asset. In these transactions, the Company is acquiring Bitcoin or crypto asset in exchange for Fiat Currency.

      •    Crypto Asset or Digital Asset: Bitcoin and alternative digital fonns of money, or 'altcoins', launched after the success of
           Bitcoin. This category of crypto asset is designed to work as a medium of exchange or store of value. This tennis inclusive of
           Ethercum, Litccoin, and Bitcoin Cash, but not securities. In the Company's marketing documents and website, this would be
           referred to as "cryptocurrcncy," however in this document we refer to this category of digital token as a "crypto asset."

      •    Ethereum: A decentralized global computing platform that supports smart contract transactions and peer-to-peer applications,
           or "Ether," the native crypto assets on the Ethereum network.

      •    Flat Currency: The currency issued by a sovereign government or blo c including the US Dollar, Argentine Peso, or Euro.

      •    Fork: A fundamental change to the software underlying a blockchain which results in two different blockchains, the original,
           and the new version. In some instances, the fork results in the creation of a new token.

      •    Hot Wallet: A wallet that is connected to the internet, enabling it to broadcast transactions.

      •    Miner: Individuals or entities who operate a computer or group of computers that add new transactions to blocks, and verify
           blocks created by other miners. Miners collect transaction fees and arc rewarded with new tokens for their services.

      •    Mining: The process by which new blocks are created, and thus new transactions arc added to the blockchain.

      •    Monero: A cryptocurrency focused on privacy, which allows users to send and receive transactions without making this data
           available to anyone examining its blockchain.




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      •    Network: The collection of all Miners and Nodes that use computing power to maintain the ledger and add new blocks to the
           blockchain. Most networks arc decentralized, reducing the risk of a single point of failure.

      •    Node: A server that maintains a record of the Blockchain and can communicate with other Nodes on the Network to propagate
           new Transactions. Nodes can also maintain Wallets and safeguard Private Keys.

      •    Protocol: A type of algorithm or software that governs how a blockchain operates.

      •    Public key or private key: Each public address has a corresponding public key and private key that arc cryptographically
           generated. A private key allows the recipient to access any funds belonging 10 the address, similar to a bank account
           password. A public key helps validate transactions that arc broadcasled 10 and from the address. Addresses arc shortened
           versions of public keys, which are derived from private keys.

      •    Ripple (XRP): Ripple is the cryptocurrcncy used by the Ripple payment network. Built for enterprise use, XRP aims to be a
           fast, cost-efficient cryptocurrency for cross-border payments.

      ■    Siacoin: Native cryptocurrcncy for the Sia blockchain platform, which serves as a way for customers to pay hosts for renting
           storage space. The Sia project is meant to create a distributed, decentralized network for cloud data storage, similar to
           Dropbox or Google Drive.

      •    Stable Coin: A Token issued for the purpose of maintaining a constant value relative to a fiat currency. Examples include
           USDC, Tether, or GUSD. Many of these operate as un-regulated money market fund equivalents. These have become a
           popular method to transfer funds between exchanges without taking price risk.

      ~    Tether: .A. b!0ckchain-based cryptocurrency .1.'hcse tokens in circu!aticn arc backed by un cquivnlcnt amount vf U.S. dvllurs,
                                                         1


           making it a stablecoin with a price pegged 10 USD S 1.00.

      ■    Token: A unit of a crypto asset or other instrument secured by and recorded on a Blockchain. Tokens could include the
           primary units of a Blockchain as in Ethereum or Bitcoin, or be a separate construct whose ownership is recorded using such a
           Blockchain as in an ERC-20 Token, whose ownership might convey any number of properties.

      •    Transaction: The transfer of Bitcoin or a crypto asset from one Address to one or more Addresses. The Transaction is
           validated by Nodes and Miners according to the Protocol and specifically must be signed using the private key of the sending
           Address to be included in a Block, whereby it becomes Confirmed.

      •    Tron: Tron is a blockchain-based decentralized digital platfonn with its own cryptocurrcncy, called Tronix or TRX. It is a
           platform built specifically for peer-to-peer file sharing with the goal of competing with centralized media tech giants such as
           YouTube.

      •    Wallet: A place to store public and private keys for crypto assets. Wallets a rc typically software, hardware, or paper-based.

      •    Wire Transfer: A permanent inter-bank transfer on a national or international settlement system including the Fedwire system
           in the United States or the SWIFT international system but excluding non-permanent systems like ACH.




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                                                       PROSPECTUS SUMMARY

 This s11mmary highlights selected iliformatio11 co11tained elsewhere in this prospectus. This s11mmary does 1101 contai11 all the
 information that yo11 should consider before investing i11 011r common stock. You s/ro11ld carefully read tire entire Prospect11s, including
  "Risk Factors", "Management :S Discussion a11d Analysis of Financial Co11dilio11 and Results of Operations" and the Financial
 Statements, before making an investment decision. Unless tire context suggests othenvise, all references to "Athena", "we", "us",
  "our", or "the Company" refer to Athena Bitcoin Global, a Nevada corporation and all of its subsidiaries, and all references to
  "Athena Bitcoin" refer solely to Athena Bitcoin, Inc., a Delaware corporation and a wholly-owned subsidiary of the Company. As used
 below, Bitcoin with an uppercase "B" is used to describe the system as a whole that is involved in mai11tai11i11g the ledger of bitcoi11
 ownership andfacilitating the tra11sfer of bitcoi11 among parties. When referring to the digital asset within tire Bitcoin network, bitcoin
 is written with a lower case "b" (except, ofcourse, at the begi1111ing ofsentences or paragraph sections, as below). The name "Athena
 Bitcoin" and the Athena Bitcoin logo service mark appearing i11 this prospectus are the property of Athena Bitcoin, Inc.. a wholly-
 owned subsidiary of the Company. Solely for convenience, the trademarks. servicemarks and trade names in this prospect11s are
 referred to without the ® a11d nt symbols, but such references should 110! be construed as any indicator that the owner of such
 trademarks, servicemarks a11d trade names will not assert. to the fullest extelll under applicable law, their rights thereto. We do not
 intend the use or display ofother companies· trademarks and trade names to imply a relationship with, or endorsement or sponsorship
 ofus by, any other compa11ies.

 Introduction

 We arc an early entrant in the crypto asset market and one of the first U.S. publicly traded companies using crypto assets and
 blockchain technologies in our business operations which include a global network of Athena Bitcoin ATMs.

 Our management has determined that it is in our best interests to become a reporting company under the Securities and E,cchange Act
 of 1934 as amended ("E,cchangc Act"), and endeavor to establish a public trading market for our common stock on the OTCQB or
 other trading systems. Currently our trading volume is limited and we arc subject to the Alternative Reporting Standard of OTC Pink
 Market. Our management believes that establishing a public market on OTCQB or another exchange: (i) will increase our profile as a
 leading company in the international operation of Bitcoin ATMs, giving us greater identity and recognition, and (ii) will make it easier
 for us to attract additional equity capital, which we need to expand our business. There is no assurance that we will accomplish any of
 the foregoing goals and prospective investors arc cautioned to carefully read the risk factors set forth herein prior to making an
 investment decision.




                             Athena Bitcoin connects the world's
                             cash to the world of cryptocurrency.




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  Overview

  Athena Bitcoin Global owns and operates a global network of Athena Bitcoin ATMs, which we refer to as our ATMs, that allow our
  customers to buy or sc11 Bitcoin and other major crypto assets in exchange for their local fiat currency, such as dollars or pesos. We arc
  focused on making Bitcoin and other major crypto assets more easily accessible, functional and usable for ordinary people and small
  businesses. Bitcoin, blockchains, smart contracts and crypto assets arc poised to transform the international financial order, however for
  billions of people, this new financial system is out of reach. They still rely on cash, either because they do not have a bank account or
  choose not to use one. For them, a connection between digital finance and paper currency is necessary.

 Bitcoin is a system for decentralized digital value exchange that is designed to enable units of bitcoin to be transferred across borders
 without the need for currency conversion. Bitcoin is not legal tender, except recently in the country of El Salvador. The supply of
 bitcoin is not determined by a central government, but rather by an open-source software program that limits both the total amount of
 bitcoin that will be produced and the rate at which it is released into the network. The responsibility for maintaining the official ledger
 of who owns what bitcoin and for validating new bitcoin transactions is not entrusted to any single central entity. Instead, it is
 distributed among the network's participants. As such, crypto assets arc transferred entirely onlinc, with no physical coins or bills.
 Instead of being held at a bank, crypto assets arc held in one's digital wallet, which is an onlinc vault for holding public and private
 keys for crypto assets. Instead of being transferred through banks, clearing houses and payment processors, crypto assets arc
 transferred directly to the recipient online and transactions arc recorded on a blockchain or public ledger. The value of each crypto asset
 is determined by trading among buyers and sellers all over the world. At the end of 2020, the overall market capitalization of crypto
 assets reached $782 billion, representing a compounded average gro\\th rate (CAGR) of over 150% since 2012. The supply of Bitcoin
 is greater than the MI money supplies of the Swiss Franc and the Russian Ruble. One challenge for Bitcoin and other crypto assets is
 that they typically cannot be used to pay for things like groceries, utility bills, or a house. When someone wants to spend their bitcoin,
 they will generally need to first convert it to their local currency. Crypto asset owners can use crypto exchanges like Coinbasc and
 acquire U.S. dollars by scllin~ their crypto assct(s). On Coinbase or other crypto asset exchanges, users can oftentimes sell their bitcoin
 or other crypto assets for up to 50,000 U.S. dollars a day which can be wired or otherwise sent directly to a bank account and typically
 usable after one or two business days. Crypto exchanges arc well suited for larger, planned transactions but can be inconvenient or
 entirely unsuitable for smaller or more immediate transactional needs. They also do not offer the level of convenience that bank
 customers arc accustomed to. Most people in the U.S. use bank ATMs rather than bank tellers to get spending cash due to the added
 convenience.

 ATM Market

 According to a University of Florida study, there were over 470,135 traditional ATMs operating in the United States in 2018. For
 Bitcoin owners, our ATMs play a similar role by providing cash conveniently and quickly. Someone that owns Bitcoin, Ethereum,
 Litecoin or BCH can visit our ATMs and get up to $2,000 in cash in a single transaction. While our ATMs dispense cash for Bitcoin
 owners like a typical ATM cash machine does for a bank customer, our ATMs function is more akin to currency exchange booths at
 international airports. Our ATMs are performing real-time exchange between major crypto assets and local fiat currency including
 dollars and pesos. Instead of exchanging across countries, we exchange between the legacy financial system and a new emerging
 digital financial system. The majority of our customers use our services to purchase Bitcoin with dollars. Although some of our ATMs
 in the United States support dispensing dollars in exchange for Bitcoin, only a small percentage of customers use this service.
 However, in Central and South America, there is a more even distribution between purchases and sales. Athena Bitcoin ATMs enable
 anyone to quickly buy or sell Bitcoin, Ethcrcum, Litecoin or BCH in exchange for local paper money. While our ATMs differ
 substantially in function from bank ATMs, they provide a similar level of convenience. In addition, our ATMs benefit from the public's
 vast experience using bank ATMs, which greatly contributes to making our ATMs a very user-friendly method for anyone to buy or sell
 Bitcoin.

 Company Summary

 The Company is focused on developing, owning and operating a global network of Athena Bitcoin ATMs, which are free standing
 kiosks that permit customers to buy or sell crypto assets (including Bitcoin, Ethereum, Litecoin and BCH) in exchange for cash
 (banknotes) issued by sovereign governments and often referred to as fiat currencies. The Company places its machines in convenience
 stores, shopping centers, and other easily accessible locations. Our network presently includes Athena Bitcoin ATMs in 10 states and 3
 countries in Central and South America. We seek to expand our network in the U.S. and globally, and to further develop Athena
 Bitcoin as a trusted and preferred brand for parties seeking to exchange currency for Bitcoin and other major crypto assets.




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  Customers can purchase as little as $1 of Bitcoin, but normally choose between $ I 00 and $1,000 using Athena Bitcoin ATMs. The
  typical ATM that the Company operates is about 5-fcct tall and features a large touchscreen for customer interaction. The customer
  typically needs to have a wallet app on his smart phone to buy or sell crypto assets on our ATM. In the process of the transaction, the
  customer will follow the steps prompted on the screen. When a customer is buying crypto assets, the machine will prompt the customer
  to insert cash since our ATMs do not accept debit or credit cards. When the customer is done, a receipt will print showing exactly how
  much crypto assets have been bought and the address they were sent to.

  The Company's ATMs do not contain any crypto assets or keys to crypto assets. The Company sells Bitcoin, Ethereum, Litecoin and
  BCH from cloud-based wallets in each country, enabling real-time supply of crypto assets to its customers. For the period ending
  September 30, 2021 and the fiscal years ending December 31, 2020 and December 31, 2019, the Company's breakdown of volume of
  ATM transactions per crypto asset is as follows:

                                       For the Nine Months Ended
  Crypto Asset                             September 30, 2021                       2020                               2019
  Bitcoin                                        72,076                            100,113                            72,061
  Ethcrcum                                        2,303                              913                                78
  Litecoin                                        4,794                             7,511                             11,603
  Bitcoin Cash (BCH)                               826                              1,044                              1,403
  Total                                          79,999                            109,581                            85,145

  The Company buys most of its crypto assets through automated purchases on crypto exchanges, based on algorithms the Company has
  developed for balancing its holdings with anticipated demand. In addition to this automated buying program, the Company is active in
  the over-the-counter dealer market and has bilateral relationships with several large crypto asset trading desks. We replenish our supply

  our holdings of Bitcoin within 3 to 5 days of buying it, and within 7 to IO days of buying our Ethcreum, Litecoin, and BCH holdings.
  We strive to keep this period short to reduce the effect of changes in crypto assets/U.S. dollar exchange rates on our business and to
  maximize our working capital. We do not invest or have long term holdings of Bitcoin, Ethcreum, Litecoin or BCH.

  We charge a fee per crypto asset available through Athena Bitcoin ATM, equal to the prevailing price at U.S.- based exchanges plus a
  mark up that typically ranges between 5% and 20%. The prices shown to customers on our Bitcoin ATM arc inclusive of this price
  spread and arc calculated by multiplying the prevailing price level of crypto asset by one plus the mark up. The mark up varies from
  one crypto asset to another and by location. It is detennined by a proprietary method that is maintained as a trade secret. Our revenues
  associated with our ATM transactions are recognized at the time when the crypto asset is delivered to the customer. By increasing our
  geographic service area, including our recent expansion of operations in El Salvador, we aim to make Athena into a global financial
  services company that can connect the world's cash to the world of crypto assets.

  Corporate History and Other Information

  The Company was incorporated in the state of Nevada in 1991 under the name "GamePlan, Inc." for the sole purpose of merging with
  Sunbeam Solar, Inc., a Utah corporation, which merger occurred as of December 31, 1991 with GamePlan, Inc. as a sole surviving
  entity. The Company was involved in various businesses, including, gaming and other consulting services, prior to becoming a
  company seeking acquisitions (a "shell company" as defined in Rule 405 of the Securities Act). The Company was a reporting issuer
  under the Securities and Exchange Act of 1934 (the "Exchange Act") from 1999 until 2015 when it filed Form 15 pursuant to Ruic
  I 2g-4(a)( I) with the Commission and ceased to be a reporting company.

  On January 14, 2020 the Company entered into a Share Exchange Agreement (the "Agreement"), by and among the Company, Athena
  Bitcoin, Inc., a Delaware corporation ("Athena Bitcoin") incorporated in 2015, and certain shareholders of Athena Bitcoin. The
  Agreement provides for the reorganization of Athena Bitcoin, with and into the Company, resulting in Athena Bitcoin becoming a
  wholly-owned subsidiary of the Company. The agreement is for the exchange of 100% shares of the outstanding common stock of
  Athena, for 3,593,644,680 shares of GamePlan, Inc. common stock (an exchange rate of 1,244.69 shares of common stock of
  GamePlan, Inc. for each share of Athena Bitcoin common stock). The closing of the transaction occurred as of January 30, 2020.
  Subsequently, in May, 2020, the Company filed its amended and restated articles of incorporation authorizing a total of 4,409,605,000
  shares of common stock.

 The Company approved the name change from "GamePlan, Inc." to "Athena Bitcoin Global" on March 10, 2021 by the unanimous
 consent of its Board of Directors and a majority consent of its shareholders. The Company filed an amendment to its Articles of
                                                            Exhibit 2-G
 Incorporation with the Secretary of State of the state of Nevada on April 6, 2021, with the effective date of April 15, 2021 . The
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               Case 4:22-cv-00073-O Document 17 Filed 10/24/22                              Page 72 of 82 PageID 290
   Company's name change and trading symbol change to "ABIT" was declared effective by FINRA on OTC Pink Market as of June 9,
   2021.




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  The Company, Athena Bitcoin Global, is a Nevada corporation which owns 100% of our operating subsidiaiy, Athena Bitcoin, Inc., a
  Delaware corporation. Our domestic business operations arc conducted by Athena Bitcoin, Inc. We have operating subsidiaries in the
  specific countries where we operate, as more fully described in the following:



                                                Athena B1tcoin
                                                   Global
                                                            Xenda



                                             Athena B1tcc!.ll, Inc.

                                                          0 .?laware


      Athena Holdin.e:s El
       Sah: a.dor, S.A: de       Athena Hold1.0.!!~          Athena Holdlll.5!         Athena B1tc.:in S.
            cs_,:1,,             Co1omb13 SAS 1~;           Compmy S P. L~:J           de Kl. de C ,-_,·...,
                El Sah'ador                Colombia                    -~gentina                      Mexico



 (I} Athena Bitcoin Inc. owns    99% of Athena Holdings El Salvador SA de CV and Eric Gravengaard holds I% on behalf of the
 Company.

  2
 < > Athena Bitcoin fnc. beneficially owns and controls Athena Holdings SAS which is nominally owned by Eric Gravengaard 95% and
 Matias Goldenhom 5%.

 (l} Athena Bitcoin Inc. beneficially owns and controls Athena Ho lding Company SRL which is nominally owned by Eric Gravcngaard
 45%, Gilbert Valentine 45%, and Matias Golden horn I0%.

  4
 < > Athena Bitcoin Inc. owns 2,999 Shares of Athena Bitcoin SRL de CV and Eric Gravcngaard owns I Share on behalf of the
 Company.

 Our corporate office is located at 1332 N Halsted St., Suite 403, Chicago, IL 60642, and our telephone number is 312-690-4466. Our
 website is www.athenabilcoifl.com. The infonnation on, or that can be accessed through, our website is not part of this prospectus and
 is not incorporated by reference herein.

 Industry Summary

 The Company is an active participant in the operation ofBitcoin ATMs in the U.S. and Latin America. More broadly we operate in the
 market of retail sales of bitcoin facilitating small purchases of Bitcoin, Ethcreum, Litccoin, and BCH. There arc many ways that retail
 consumers, individuals purchasing small amounts from one dollar to a few thousand dollars' worth, can purchase or dispose of crypto
 assets.

 The Birth ofBitcoin ATMs

 In the earliest days of Bitcoin, most transactions were done in person often facilitated by websites. These sites matched prospective
                                                                        a



 buyers with sellers and facilitated communications and wallet coordination, allowing them to meet in public places like coffee shops
 and street comers, and exchange bitcoin for envelopes of cash. The first Bitcoin ATMs began appearing in 2014. These ATMs were an
 instant hit with retail customers who were accustomed to in-person transactions because they offered instantaneous access to bitcoin in
 a familiar and safe method.

 According to Reuters in a March, 2021 article titled "Bitcoin ATMs arc coming to a gas station near you", the industry has grown from
 a handful of machines operated by hobbyists to more than 15,000 kiosks worldwide primarily operated by increasingly larger
 organizations. There are many operators of Bitcoin ATM networks, from crypto businesses to major corporate and conventional kiosk
 companies including Coinstar.
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  Some Bitcoin ATMs offer one-way exchange, allowing customers to only buy crypto assets. Others offer two-way exchange, so
  customers can buy crypto assets for cash, or sell some of their crypto assets and receive cash. Athena Bitcoin ATMs, serve clients with
  the following types of crypto assets: Bitcoin, Ethcreum, Litecoin, and BCH in either one-way or two-way exchanges, depending on the
  functionality of each ATM machine.

  Bitcoin Exchanges

  Parties that want to use their bank accounts to buy Bitcoin can do so without an ATM. These transactions arc the domain of exchanges
  and specialty apps including services from Coinbasc, Gemini, Kraken, and Square. These services generally accept U.S. dollar
  transfers from bank accounts and do not accept physical currency. These services may or may not, depending on several factors
  including method of deposit, allow the purchaser of a crypto asset on their platforms to immediately transfer the crypto asset into their
  own wallet. These services cater to larger purchasers and investors in crypto assets. Users of exchanges may use ATMs as a convenient
  method to get spending cash, similar to how bank account and credit card holders use bank ATMs.

  The groW1h of businesses and services that accept Bitcoin and make it more functional is contributing to increasing Bitcoin usage. In
  October of 2020, PayPal and Vcnmo announced they will accept Bitcoin, thus enabling PayPal and Venmo customers to use their
  Bitcoin to make onlinc purchases and online payments. In 2020 and 2021, with little promotion and advertising, we have experienced a
  significant increase in transaction volumes and average transaction sizes (sec ":\lanngcmcnt's Discussion and Analysis of Financial
  Condition and Results of OJ;!crations"). We believe this trend is due in part to an increase in companies and online service providers
  that arc helping to make Bitcoin more widely and easily usable. We believe that the use of Bitcoin ATMs will continue to rise as the
  Biccoin and crypto industry and its many interconnected service providers expand.




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   Business Strategies

   We seek to grow and distinguish Athena Bitcoin services based on our method of location selection, our global expansion, operational
   efficiencies, and our authenticity as a crypto industry forerunner with respect to Bitcoin ATMs.

   We are an efficient operator.

   We arc focused on placing our ATMs in optimal locations that maximize both current income and future potential. Our ATMs arc in
   urban, suburban, and rural locations. Our site selection criteria and metrics arc a closely guarded proprietary aspect of our business. In
   placing our ATMs, we employ a data driven strategy based on factors we have learned over the years. In addition to data metrics, our
   placement strategy includes analysis of immediate trends, as we arc in a dynamic business where usage is widening dramatically and
   often in unpredicted ways. Each location is chosen to complement the rest of the fleet and offer customers of diverse backgrounds
   access to convenient crypto assets transactions.

   We arc constantly improving our operational efficiency. Our ATMs serve as remote tellers that connect to our centralized cloud-based
   crypto trading operation. We have proprietary systems and methods of managing our currency exchange operation. Our founders have
   a deep understanding of high-frequency trading and were some of the first to electronically trade Bitcoin on multiple exchanges
   simultaneously. The objective of our purchasing algorithms is to frequently re-balance our crypto holdings to meet the dynamic
   demand of our many customers Over-buying of any crypto asset can result in inefficiency and currency risk, while under-buying may
   temporarily prevent us from selling crypto assets at our ATMs. We strive to improve the efficiency of our currency exchange operations
   to maximize our profits, manage risk and facilitate growth.

   We are a global business.

   We placed n11r ti~t ATM n1.1tside the US in Mexico in 20! 7. According t~ the C!A '.Vor!d F:lctbcck, the medi:m :ige in the United
   States is 38. In South America it is 31, and Africa has a median age of only 18. As the digital generation accumulate their wealth, they
   are far more likely to embrace crypto assets than their predecessors. Bitcoin is poised to quickly become a part of the lives of a huge
   percentage of the developing world's population. This "global south" offers a large green field expansion opportunity for us because it
   combines high usage of physical currency with low median age and reduced access to quality banking.

   On June 8, 2021, El Salvador became the first and remains the only country to officially adopt the cryptocurrcncy as legal tender when
   its congress passed the Bitcoin Law proposed by President Nayib Bukcle. On September 7, 2021, the Bitcoin Law was implemented
   and Bitcoin became legal tender in El Salvador, alongside the U.S. dollar, the country's other official currency. Under the new law,
   Salvadorans can pay taxes in Bitcoin and businesses arc obliged to accept Bitcoin as payment for goods and services, in addition to the
   U.S. dollar. Given that more than 70% of the adult population of El Salvador does not have access to the traditional banking system,
   the government of El Salvador believes that Bitcoin will greatly help the unbanked get access to electronic payments.

  The Company began working with the government of El Salvador in late June 2021 to support the implementation of its Bitcoin Law.
  In August 2021, we entered into certain agreements for services to be rendered by the Company to the Department of Treasury
  (Ministerio De Hacienda) of El Salvador, pursuant to which we have installed and arc operating 200 Chivo Bitcoin ATMs in El
  Salvador, 10 Chivo Bitcoin ATMs at El Salvador consulates in the U.S., 45 Chivo Bitcoin ATMs in other U.S. locations, and importing
  and delivering 950 Chivo point-of-sale ("POS") terminals for local businesses in El Salvador to transact with Bitcoin. As of December
  31, 2021, all Chivo Bitcoin ATMs arc installed and operational and all 950 point-of-sale terminals have been delivered and
  subsequently distributed to end-users as per above. The Company is responsible for maintaining the existing software infrastructure
  supporting the operation of the ATMs, the hardware maintenance of the ATM, cash logistics and customer support. Currently, there arc
  no on-going obligations with respect to the POS terminals.

  In addition, we will also develop and maintain a Bitcoin platform (Chivo Ecosystem) designed to support the Chivo digital wallet. The
  Company was obligated to provide the software for the Chivo digital wallet, comprising both the software that runs on mobile
  smartphoncs, which we refer to as the App, and the software that runs on servers, which together comprise the Chivo Digital Wallet.
  The Chivo Digital Wallet has the following functions: (i) storing and displaying USO and Bitcoin balances; (ii) sending and receiving
  USD and Bitcoin between users of the Chivo digital wallet and (iii) sending and receiving Bitcoin using on-chain and Lightning
  Network transaction.




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  The delivery of the software was initially completed on September 7, 2021, with subsequent improvements delivered continuously
  throughout the quarter. The usage of the software and the operation of the Chive Wallet is done by Chivo S.A. de C.V., a government-
  controlled entity. Through the period ended September 30, 2021, the Company booked expenses related to the Chivo Ecosystem in the
  amount of $121,000. The government of El Salvador discontinued use of the platform on or about December 15, 2021, but has not
  terminated its contract with the Company while the Company assists the government's secondary provider. However, the government
  of El Salvador has indicated that it may resume utilizing the Company's software, and therefore our estimation of anticipated costs
  related to the development of the Chivo Ecosystem platform arc uncertain.

  The government of El Salvador owns the software (which we refer to as the "IP Software") and the Company has a perpetual, royalty•
  free license under its Master Services Agreement to market the IP Software elsewhere.

  Subsequent to executing the Master Services Agreement, the Company implemented branding of its "Athena Ruru" suite of services,
  with such brand comprising of the three services the Company offers: Bitcoin ATMs, POS terminals and merchant services, and the
  wallet solution, based on the App. To date, the Company has not completed the sale of a license to its bitcoin platform, marketed under
  the Athena Ruru brand, to any other person, including without limitation any government entity or bank.

  The Company's El Salvador Contracts have the following ongoing obligations:

 Services                                                    Contract Length
 !Maintenance of software                                    !On-going during term of Master Services Agreement
 !Maintenance and operations of Bitcoin ATMs                 l(Jn-going during term of Master Services Agreement

 Sec also Business - OP.erntions in El Salvador- Material Contracts on page 60.

 Our strategy is to become a global financial services company that can connect the world's cash to the world of Bitcoin, Ethereum,
 Litecoin, and BCH. We have spent years learning how to expand our business across borders. We have assembled the people,
 processes, and technologies to enable us to continue to grow our global footprint we believe is unmatched by our competition.

 Competitive Strengths

 When comparing Bitcoin ATMs to other methods of transacting, the primary advantage of an ATM is its ability to complete a
 transaction from payment to delivery of crypto assets quickly. In the context of a purchase transaction, our ATM only accept physical
 currency, which is an immediate and permanent form of payment, and which facilitates the immediate delivery ofcrypto assets, also an
 immediate and permanent form of transaction. Apps and services that rely on ACH or other bank mechanisms for the delivery of fiat
 currency in a transaction often cannot deliver the crypto asset quickly because the funding mechanism is neither immediate nor
 permanent.

 Risk Factors Associated with Our Business

 Investing in our shares of common stock involves significant risks. You should carefully consider the risks described in "Risk Factors"
 before deciding to invest in our shares. If we arc unable to successfully address these risks and challenges, our business, financial
 condition, results of operations, or prospects could be materially adversely affected. In any of such cases, the trading price of our
 common stock would likely decline, and you may lose all or part of your investment. Below is a summary of some of the risks we face.

      •    Our shares arc subject to liquidity risks.

      •    Our business is in a relatively new consumer product segment, which is difficult to forecast.

      •    Our operating results may fluctuate due to the highly volatile nature of crypto.




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       MANAGEMENT'S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

   The following discussion and analysis offi11a11cial condition and results ofoperations should be read in conj1111ctio11 with our historical
  fina11cia/ statements a11d the notes to those statements that appear elsewhere in this prospectus. Certain statements in the discussion
   contain fonvard-looking statements based upon c11rrent expectations that involve risks and uncertainties, such as plans. objectives,
   expectations. and i11te111ions. You should read the sections tilled "Risk Factors" and "Special Note Regarding Forward-Looking
   Statements" for a discussion of important factors that could cause actual results to differ materially from the results described in or
   implied by thefonvard-Jooking statements contained in the following discussion and analysis.

   Overview

   The Company is focused on developing, owning, and operating a global network of Athena-branded Bitcoin ATM machines, which arc
   free standing kiosks that permit customers to buy or sell crypto assets in exchange for cash (banknotes) issued by sovereign
   governments - often referred to as fiat currencies.

   We place our machines in convenience stores, shopping centers, and other easily accessible locations. Our network presently includes
   Athena Bitcoin ATMs in 10 states and 3 countries in Central and South America. Sec table below for our ATMs breakdown, as of
   September 30, 2021.

                                                      Number of Athena Bilcoin ATMs
                                                          (as of September 30, 2021)
                Country                             Total                      Two-Way                            Type of Fiat Currency
             United States                            144                                  87                          U.S. Dollar
             El Salvador                               3                                    3                          U.S. Dollar
              Argentina                                11                                  II                        Argentine peso
              Argentina                                 I                                   I                          U.S. Dollar
              Colombia                                 17                                  17                        Colombian peso

   We offer Bitcoin, Ethcrcum, Litecoin, and Bitcoin Cash (BCH) for sale at all our ATM machines. We also buy these crypto assets at
   some of our ATM machines (also known as two-way ATMs). The cash withdrawal limit from our two-way ATMs is $2,000 per
   transaction. We replenish our ATMs about twice a week or depending on usage, using bonded security companies.

  We also operate an over-the-counter ("OTC") desk for private clients and trade customers of the Company. Customers typically
  interact with the Company on the phone for transaction sizes in dollar terms greater than $10,000 and on some occasions, for crypto
  assets not included in our ATMs. Since 2019, we have been typically buying and selling Bitcoin through our OTC desk, but we have
  also executed transactions in Ethercum, Litccoin, and in some cases, altcoins such as Bitcoin SV, Ripple, Siacoin, Tether, and Tron. As
  of September 30, 2021, we do not anticipate transacting in any other crypto assets except Bitcoin, Ethereum, Litecoin, and BCH.

  Additionally, we operate ATMs and point-of-sale ("POS") terminals on behalf of certain customers, typically under their brand, which
  we refer to as "white label service". This white label service is comprised of maintaining ATMs and POS terminals to facilitate the
  exchange of crypto assets for cash, and vice-versa, by our customers with their countcrpartics. We do not control the service in this
  case as we are not responsible for fulfilling the exchange contract or establishing pricing at these ATMs and POS terminals. Currently,
  the government of El Salvador is our only white label service customer. The Company has begun working with the government of El
  Salvador in late June 2021 to support the implementation of its Bitcoin Law. In August 2021, we entered into certain agreements for
  services to be rendered by the Company to the Department of Treasury (Ministerio De Hacienda) of El Salvador, pursuant to which we
  have installed and arc operating 200 Chivo Bitcoin ATMs in El Salvador, 10 Chivo Bitcoin ATMs at El Salvador consulates in the U.S.,
  45 Chivo Bitcoin ATMs in other U.S. locations, and importing and delivering 950 Chivo point-of-sale ("POS") terminals for local
  businesses in El Salvador to transact with Bitcoin. As of September 30, 2021, we were operating 20 I white label ATMs in El Salvador
  for the Department of Treasury (Ministerio de Hacienda) of El Salvador. We were not operating any POS terminals on behalf of any
  clients as of September 30, 2021.

  From time to time, we sell equipment such as POS terminals as well as software and corresponding intellectual property ("IP") to
  customers, which we consider to be ancillary to our primary business. This activity is sporadic.




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  Expansion or Business Operations In El Salvador

  Overview

  On June 8, 2021, the Bitcoin Law, proposed by President of El Salvador, Nayib Bukele, was passed by the Legislative Assembly of El
  Salvador giving Bitcoin the status of legal tender within El Salvador. Under this law, effective as of September 7, 2021, Salvadorans
  can pay taxes in Bitcoin and businesses will be obliged to accept Bitcoin as payment for goods and services. The U.S. dollar will
  continue to circulate alongside Bitcoin as the national currency. When Salvadorans convert their Bitcoin to dollars, they do not receive
  dollars in the digital wallet. Instead they become holders of stablc~dollar coins, which arc only a claim to real dollars. At that point,
  Salvadorans hold an asset backed by the full faith and credit of Mr. Bukele's government. The government spent up to $75 million to
  supply $30 worth ofBitcoin into each Chivo wallet, the country's new official Bitcoin wallet application. That funding would cover the
  cost of providing 2.5 million citizens with Bitcoin in a country of 6.5 million. The government also created a $150 million fund to
  support Bitcoin to U.S. dollar conversions and began implementation ofChivo ATMs.

 El Salvador ranks third to last among its regional peers in terms of banking access. Since approximately 70% of the adult population of
 El Salvador docs not have access to the traditional banking system, Bitcoin/digital wallets can serve as a savings instrument, promote
 financial inclusion and democratize access to electronic payments. Currently, there arc already 161 mobile subscriptions per I 00
 inhabitants in El Salvador, and it is likely easier to provide financial services linked to cellphones than trying to open new bank
 accounts. Bitcoin legalization could lower the cost of paying and receiving money. According to President Bukelc, Bitcoin, which is
 easy to send across borders, will greatly reduce rcminancc fees. In El Salvador, remittances accounted for more than 20% GDP in
 2020. On a global basis, according to the World Bank's Remittance Prices Worldwide (March 2021), sending remittances costs an
 average of 6.38% of the amount sent, but can reach more than I 0% for small transactions. The high cost of remittances means that El
 Salvador loses more than I% of GDP on remittances fees. The Chivo digital wallet also allows Salvadorans in the U.S. to send money
 home without incurring remittance fees. Since the implementation of the Bitcoin Law, many Bitcoin enthusiasts around the world have
 shown interest in moving to the country, where their Bitcoin trading profits would be tax-exempt and where tax rates arc relatively low.
 El Salvador is offering permanent residency to anyone who invests at least three Bitcoins (about $160,000) in the country. Legalization
 ofBitcoin could anract investment of both ciypto asset investors and miners, and could generate additional tourism.

 Business Operations

 Since June 2021, when the Bitcoin Law was enacted, the Company has focused its resources and expanded its operations in El
 Salvador. The Company's operating subsidiary in El Salvador is Athena Holdings El Salvador, S.A. de C.V.; however, our agreements
 with the government of El Salvador discussed below, have also been entered with Athena Bitcoin Global, a Nevada corporation and
 Athena Bitcoin, Inc., a Delaware corporation, our wholly-owned operating subsidiary. We began discussions with the government of El
 Salvador in late June 2021, and successfully executed agreements with the Department of Treasury (Ministerio de Hacienda) in
 August, 2021. Under those agreements, the Company is responsible for several major projects, which include the operation of 200
 Chivo Bitcoin ATMs in El Salvador, 10 Chivo Bitcoin ATMs at El Salvador consulates in the U.S. (in the states of California, Florida,
 Georgia, Illinois, and Texas), 45 Chivo Bitcoin ATMs in other U.S. locations, and the distribution of950 Chivo point-of-sale ("POS")
 terminals for local businesses in El Salvador to process transactions with Bitcoin. Additionally, we develop and maintain a Bitcoin
 platform ("Chivo Ecosystem") designed to support the Chivo digital wallet.

 For operating 200 Bitcoin ATMs and developing and maintaining the Chivo Ecosystem, the Company will be paid a one-time
 installation fee and recurring monthly service fees. The Department of Treasury of El Salvador will pay us for each POS tenninal as
 well as monthly maintenance fees once the service becomes operational. We arc also charging a monthly fee to maintain Chivo Bitcoin
 ATMs in the U.S. for each consulate and a small mark up of all Bitcoin purchases made on those ATMs. The agreement terms vary by
 project from one year to three years with monthly or annual renewal terms. Currently, we do not face any direct competition for the
 services we provide since we are operating under contract with El Salvador's Treasury department. The Treasury department owns all
 intellectual property developed for the Chivo Ecosystem and has granted Athena a royalty-free, fully paid up, perpetual worldwide
 right and license to use for any purpose.




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  Contracts with government of El Salvador

  In the third quarter of 2021, the Company signed several contracts with the Department of Treasury (Ministerio de Hacienda) of El
  Salvador ("El Salvador Contracts") which include installing and operating 200 Chivo Bitcoin ATMs in El Salvador, IO Chivo Bitcoin
  ATMs at El Salvador consulates in the U.S., 45 Chivo Bitcoin ATMs in other U.S. locations, and sales of 950 point-of-sale (POS)
  tcnninals for local businesses in El Salvador to process transactions with Bitcoin. Additionally, the Company will sell intellectual
  propeny in software, and develop and maintain a Bitcoin platfonn designed to support a branded digital wallet, as specified in El
  Salvador Contracts. Sec also Note 4 to the unaudited financial statements for the nine months' period ended September 30, 2021.

  Letter of Intent with Vakano Industries

 The Company entered into a non-binding Letter of Intent with Arley Lozano, a principal beneficial owner of Vakano Industries and
 XPay, both Colombian entities (collectively, "XPay"), for the purchase and sale of certain assets of XPay, primarily intellectual
 propcny assets, including the XPay Wallet (the precursor to the Chivo Wallet) and XPay POS software, to the Company. In September,
 202 I, Lozano and the Company entered into a tcnn sheet proposed agreement to acquire assets of XPay which include certain
 technologies, ATMs, point-of-sale tenninals in El Salvador, X-Pay POS system and other assets. The total purchase price is comprised
 of $3 million in cash and the issuance of 270 million of the Company's shares of common stock (valued at $27 million at a $0. IO per
 share valuation). The shares arc subject to vesting over a three-year period based on the consulting services related to the management
 of Colombian operations to be provided by Mr. Lozano and additional five-year non-competition and non-solicitation clause. The
 shares shall vest on one year cliffs and then linearly thereafter. The definitive agreement for the purchase and sale of XPay assets has
 not been executed yet, however, the Company paid an initial deposit of $780,000 to XPay as a partial payment towards the purchase
 price of $3,000,000 for XPay assets. The initial payment was accepted and agreed to by XPay on September 9, 2021 in a written
 confinnation which included a specific Hst of assets lo be acquired by the Company. Sec also, Note 13 to the unaudited financial
 statements of the Company for the nine months' period ended September 30, 202 I.

 Loan from Banco Hipotecario

 In September 2021, the Company's El Salvador subsidiary, Athena Holdings El Salvador, S.A. DE C.V. ("Athena El Salvador") entered
 into a loan agreement with Banco Hipotccario for the loan amount of $1,500,000. The loan has an interest rate of 7 .5% and is secured
 by Athena El Salvador's assets in El Salvador. The maturity date is 36 months after the disbursement of the funds. The monthly
 payments on the loan in the equal amounts of $49, I08, begin two (2) months after the disbursement of the funds. As of September 30,
 202 I, no funds have been disbursed to the Company. The Company intends to utilize loan proceeds to expand its fleet of Bitcoin ATMs
 and for other general corporate purposes. Sec also Note 8 ("Debt") to the unaudited financial statements for the nine months' period
 ended September 30, 202 I.

 Athena Ruru

 In November 2021, the Company began marketing its services under a service branded "Athena Ruru". Athena Ruru includes three
 services the Company offers: Bitcoin ATMs, point of sale (POS) tcnninals and merchant services, and the wallet solution. The
 Company believes that by defining those services as a complete product, it could facilitate the combined use of digital currency and
 electronic banking to power economics in need of access and inclusion to enable them to grow their GDP, such as the economy of El
 Salvador. As a payment system, it provides a mobile wallet which allows users to access both crypto assets and fiat balances, exchange
 between those assets, send and receive money, pay for goods and services, and deposit and withdraw funds to local bank accounts and
 international crypto asset platfonns. The target market for the combined product offering includes other government entities, regional
 banks, and other trusted institutions that want to provide their constituencies with access to a wallet integrated into an ATM and
 merchant network.

 Environmental Impact

El Salvador's Biteoin plan has put a spotlight on the environmental impact of cryptocurrency with the World Bank flagging such
potential adverse effects among its concerns. Mining digital currency requires large amounts of energy, and the Bitcoin industry's
global CO2 emissions have risen to 60 million tons, equal to the exhaust from about 9 million cars, according to Bank of America's
report in March 2021. President Bukele sought lo counter sustainability concerns by engaging state-owned geothennal electric
company, LaGeo SA de CV to offer Bitcoin mining facilities using renewable energy from the country's volcanoes.




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  Outstanding Equity Awards at 2020 Fiscal-Year End

  The following table sets forth infonnation regarding outstanding equity awards at the end of 20 IO for each of our NEOs.

                                                        Option Awards                                               Stock Awards
                                                                                                                                          Equity
                                                                                                                             Equity      Incentive
                                                                                                                            Incentive       Plan
                                                                                                                 Market       Phm        Awards:
                                                                                                                  Value     Awards:       Market
                                                              Equity                                               of       Number       or Payout
                                                            Incentive                                :-,iumber   Shares        or        Value Of
                                                               Phm                                        of       or       Unearned     Unearned
                                                             Awards:                                  Shares      Units      Shares,      Shares,
                         Number of      Number or          Number or                                 or Unlh       or        Units or     Units or
                          Securllirs     Securllles         Securities                               of Stock    Stock        Other        Other
                         Underl)ing     Underlying         Underlying                                  That       That       Rights       Rights
                         Une1en:lsed    Unnerclsed         Unnerdsed      Option                       Have       Have        That         That
                           Opllons        Opllons           Unearned      Eiterclse      Option          Not      Not       Have Nol     Have Not
                             (#)            (#)              Oplions       Price        Expiration    Vested     Vested      Vested       Vested
 Name                    Exercisable   Une1erdsable            (#)            (S)         Date           (#)      (S)          (#)          (S)
                                   0                0                0              0            0           0          0            0            0

 Employment Contracts, Termination or Employment

 We do not have employment contracts with our officers, however, we have signed Offer Letter with our Chief Financial Officer which
 provides for an annual salary of $250,000, health and transit benefits, vacation time and participation in the Company's equity
 compensation plan. [n an event of tcnnination without cause, Mr. Suri would be entitled to receive compensation equal to six-months
 of his base salary. Sec Exhibit 10.12. We have also terminated our oral agreement with Advisory FX LLC in Oclobcr 2021, and Mr.
 Weinhaus is compensated directly for his services as the Company's President.

 Compensation of Directors

 Our directors did not and do not receive any compensation for their services as our directors. We will reimburse directors for their
 reasonable out-of-pocket expenses, including travel, food, and lodging, incurred in attending meetings of our Board and/or its
 committees. We do not expect to compensate our employee directors for their service on our board of directors in the future.

 Outstanding Equity Awards at Fiscal Year-End December 31, 2020

 Not applicable. At the end of 2020, there were no equity awards outstanding, and the Company has not adopted such a plan.

 Prior to the Share Ex.change transaction, as defined elsewhere in this prospectus, the Company's subsidiary had 2016 Stock Option
 Plan which was terminated in January, 2020. Sec Note I I to the Financial Statements.




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                                                                Exhibit 2-G
                              -~. ·---·---· ·-·--····..... --------·-· ..
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                             Declaration of Panagiotis Angelopolous

I, Panagiotis Angelopolous, have personal knowledge of the facts below based on my
professional experiences working on Chivo Wallet as a software developer:

   ● The El Salvadoran entity of Athena Bitcoin, which I believe is called Athena Holdings El
     Salvador, S.A. de C.V., maintained a balance of U.S. dollar and bitcoin within Chivo
     Wallet, which was internally known as Chivo Core.
   ● Athena Bitcoin’s El Salvadoran entity used its balances within Chivo Core to deliver
     bitcoin to anyone transacting at a Chivo ATM worldwide, including Athena’s bitcoin
     ATMs in the United States, regardless of whether or not they owned, maintained or
     interacted with a Chivo Wallet account on their phone or any other electronic device.
   ● The ATMs experienced numerous outages due to the inability of Chivo ATMs to
     determine the U.S. dollar and bitcoin balances of Athena Bitcoin El Salvador within
     Chivo Core.
   ● Williams Mendez and Franklin Grassals, contractors for Accruvia, resolved ongoing
     Chivo ATM outages by reducing balance calculation times from more than two minutes
     to less than 10 seconds, at the time of improvements applied.
   ● Chivo ATMs were unable to perform their primary function, the buying and selling of
     bitcoin, without directly interfacing with Chivo Core, the software of which Accruvia
     contractors worked.


I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct.

Executed on ___08.24, 2022.



______                  ___________________
Panagiotis Angelopolous




                                           Exhibit 3
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Supplemental Declaration of Panagiotis Angelopoulos

I, Panagiotis Angelopoulos, have personal knowledge of the facts below based on professional
experiences working on Chivo Wallet as a software developer:

   ●   I worked as a paid contractor for “Athena Bitcoin” on Athena Ruru which uses the same
       code base as Chivo Wallet, also known as “Chivo Core”. My agreement did not
       distinguish the specific Athena entity for whom I was working.
   ●   The company paid me in bitcoin, so I am unable to speculate as to whether Athena
       Bitcoin Global or Athena Bitcoin, Inc., or some other Athena entity, paid for my work.
   ●   I have personal knowledge of source code done for “Athena Bitcoin” for projects known
       as “Chivo Wallet”, and now also as “Athena Ruru”.
   ●   The source code covers all activity in the code between the start date 08.01.2021 and
       07.28.2022 date, the day of the last “commit” of which I am aware in the code.
   ●   A “commit” is a change in the code that tracks the author, the changes and the time that
       the commit was made.
   ●   The commits show that Accruvia contractors performed work that is contained within
       Athena Ruru.
   ●   On or about 03.17.2022, Athena “forked” the old code repository, “Chivo Core”, into a
       new repository, “Ruru Core”. That fork still contains the original work of Accruvia as of
       07.28.2022.
   ●   Based on my understanding of the ATM network of various Athena entities, Accruvia’s
       work is likely being used in the Athena products known as “Athena Ruru” and ”Ruru
       Direct”.

I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct.

Executed on 10.07.2022.


___________________________________
Panagiotis Angelopoulos




                                           Exhibit 4
